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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CORAL RIDGE MINISTRIES                    )
MEDIA, INC., d/b/a D.                     )
James Kennedy Ministries,                 )
                                          )
        Plaintiff,                        )
                                          )         CIVIL ACTION NO.
        v.                                )           2:17cv566-MHT
                                          )                (WO)
AMAZON.COM, INC., et al.,                 )
                                          )
        Defendants.                       )

                                       OPINION

    Plaintiff          Coral       Ridge        Ministries    Media,        Inc.

(“Coral        Ridge”)         filed     this    lawsuit     against       three

defendants:         the    Southern        Poverty    Law     Center,       Inc.

(“SPLC”),          Amazon.com,           Inc.     (“Amazon”),       and      the

AmazonSmile Foundation (“AmazonSmile”).                      The lawsuit is

based        largely      on     Coral     Ridge’s    allegations          that,

because       of    its    religious          opposition     to    homosexual

conduct, SPLC has designated it as a “hate group” and

that,        because       of     this        designation,        Amazon     and

AmazonSmile have excluded it from receiving donations

through the AmazonSmile charitable-giving program.
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      Coral Ridge has three claims against SPLC: a state

claim that its “hate group” designation is defamatory

and   federal     claims       for    false      association     and        false

advertising      under    the     Lanham      Act,    15   U.S.C.         § 1125.

Coral    Ridge    has     a    single      claim     against    the        Amazon

defendants: a federal claim that they excluded it from

the     AmazonSmile      charitable-giving            program        based     on

religion, in violation of Title II of the Civil Rights

Act of 1964, 42 U.S.C. § 2000a et seq.1

      This    lawsuit     is    before     the     court   on   the        United

States       Magistrate        Judge’s     recommendation            to     grant

SPLC’s and the Amazon defendants’ motions to dismiss

filed pursuant to Rule 12(b)(6) of the Federal Rules on

Civil    Procedure.           After   an    independent        and    de     novo

review of the record, and for reasons that follow, the



    1. Coral Ridge also asserts a state claim of
negligence against the Amazon defendants.   However, as
Coral Ridge concedes, see Objection to R&R (doc. no.
58) at 6, the negligence claim hinges on the Title II
claim, given that the alleged duty breached is Title
II’s anti-discrimination obligation, see Am. Compl.
(doc. no. 40) at ¶ 179.     Because the court finds no
violation of Title II, the negligence claim fails by
extension and is not discussed separately.

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court     overrules       Coral           Ridge’s     objections     to    the

recommendation and adopts the recommendation that this

case should be dismissed in its entirety, albeit for

reasons,     in        some        instances,       different      from    the

magistrate judge’s.



                              I.     JURISDICTION

    The     court       has    jurisdiction           over   Coral   Ridge’s

federal claims pursuant to 28 U.S.C. § 1331 (federal

question), 42 U.S.C. § 2000a-6(a) (Title II), and 15

U.S.C. § 1121(a) (Lanham Act); and over its state claim

pursuant    to    28     U.S.C.       § 1367      (supplemental)     and     28

U.S.C. § 1332 (diversity).



                 II.    MOTION-TO-DISMISS STANDARD

    “To survive a Rule 12(b)(6) motion to dismiss, a

complaint must plead ‘enough facts to state a claim to

relief that is plausible on its face.’”                       Michel v. NYP

Holdings,    Inc.,       816       F.3d    686,     694   (11th   Cir.    2016)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,



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570 (2007)).        “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is

liable for the misconduct alleged.”               Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009).                 “The allegations in the

complaint must be accepted as true and construed in the

light most favorable to the plaintiff.”                      Michel, 816

F.3d at 694.

       Crucially, however, the court need not accept as

true “conclusory allegations, unwarranted deductions of

facts    or    legal     conclusions      masquerading       as   facts.”

Oxford Asset Mgmt., Ltd., v. Jaharis, 297 F.3d. 1182,

1188 (11th Cir. 2002); see also Roberts v. Ala. Dept.

of Youth Servs., 2013 WL 4046383, at *2 (M.D. Ala. Aug.

9, 2013) (Thompson, J.) (“[G]eneralizations, conclusory

allegations, blanket statements, and implications will

not”    allow      the   complaint       to   survive    a    motion     to

dismiss).          Conclusory    allegations       are       those     that

express       “a   factual    inference       without    stating       the




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underlying      facts       on    which       the   inference      is    based.”

Conclusory, Black’s Law Dictionary (11th ed. 2019).

    As    recognized         by    the       Eleventh    Circuit        Court    of

Appeals, the “application of the plausibility pleading

standard makes particular sense when examining public

figure defamation suits” such as this one, given that

“there is a powerful interest in ensuring that free

speech    is    not    unduly          burdened     by   the   necessity         of

defending against expensive yet groundless litigation.”

Michel, 816 F.3d at 702.



                       III.       BACKGROUND FACTS

    The    allegations            of    the    complaint,      taken      in    the

light    most    favorable         to    Coral      Ridge,     establish        the

following facts.            Coral Ridge is a Christian ministry

whose     main        activities          include        broadcasting           via

television,      and    otherwise            spreading,      the   “Gospel       of

Jesus    Christ,”      as     well      as    fundraising.         Am.    Compl.

(doc. no. 40) at ¶¶ 32-39.                      In addition to being a

Christian ministry, it is, by its own account, a media



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corporation, see id., as is also evident from its name,

Coral        Ridge    Ministries          Media,          Inc.          Its     vision

statement, included in its bylaws, is “to communicate

the Gospel ... and a biblically informed view of the

world, using all available media.”                          Id. at ¶ 33.             Its

“mission” includes “proclaim[ing] the Gospel upon which

this Nation was founded.”             Id. at ¶ 38.

       Coral    Ridge       was   founded       in    1974       by     David      James

Kennedy,        an      American          pastor,            evangelist,             and

broadcaster,          and    it    produced           a     weekly       television

program,       “The    Coral      Ridge       Hour”       (now    called      “Truths

that    Transform”),          which   “was           carried       on    television

networks and syndicated on numerous other stations with

a     peak    audience       of    three       million           viewers      in     200

countries.”          Id. at ¶ 31-32.            Kennedy also had a daily

radio show that ran from 1984 to 2012.                           Id. at ¶ 32.

       Coral     Ridge       continues          to        broadcast        Kennedy’s

“Truths that Transform” on television. Id. at ¶¶ 35,

39.     It espouses “biblical morals and principles” on

homosexuality and marriage.                     Id. at ¶ 58.                  It also



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opposes same-sex marriage and the “homosexual agenda”

based on its religious beliefs.                 Id. at ¶ 82.

       Coral   Ridge    alleges    that        it    “opposes      homosexual

conduct,”      but   “has    nothing      but       love   for     people    who

engage in homosexual conduct.”                  Id. at ¶ 61.          It says

that    its    “position      on   LGBT    issues          is    inextricably

intertwined       and      connected      to     the       [its]    religious

theology.”      Id. at ¶ 155.          It views homosexual conduct

as “lawless,” “an abomination,” “vile,” and “shameful.”

Id. at ¶¶ 155, 175 (citing and quoting Bible verses).

Coral Ridge not only admits that “the Ministry has been

vocal about its position on homosexuality because it

believes the Bible speaks clearly about God’s intent

for    marriage      and    sexuality,”         it     also      argues     that

“speaking out on these issues is necessary to fulfill

the Ministry’s stated purpose of ’lovingly engag[ing]

the culture with the heart and mind of Christ.’” Pl.’s

Resp. to SPLC’s Mot. to Dismiss (doc. no. 51) at 10

(quoting Am. Compl. (doc. no. 40) at ¶ 34(d)).




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       SPLC     is    a    nonprofit       organization              that,    among     a

range     of    activities,            disseminates         a    “Hate       Map”    that

lists       groups        that    it    designates          as       “hate    groups,”

including Coral Ridge.                   Id. at ¶¶ 20-21.                 SPLC’s Hate

Map    is      located      on    its     website,          and       defines       “hate

groups” as groups that “have beliefs or practices that

malign or attack an entire class of people, typically

for    their     immutable         characteristics.”                  Id.     at    ¶ 59.

SPLC     has     disseminated           the     Hate    Map          in   fundraising

efforts        and    in    its    reports,          training         programs,       and

other informational services.                    Id. at ¶¶ 120, 121, 132.

       SPLC designated Coral Ridge as a hate group because

of    its     espousal       of    biblical          views       concerning         human

sexuality        and       marriage--that             is,        because       of     its

religious beliefs on those topics.                               Id. at ¶¶ 57-61;

see also id. at ¶¶ 154-55.

       Amazon is the largest internet-based retailer in

the    world     by       total   sales        and   market          capitalization.

See     id.      at       ¶ 5.          AmazonSmile             is    a     tax-exempt

corporation affiliated with Amazon.                             See id. at ¶¶ 14,



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41.     Amazon    and       AmazonSmile     operate   the       AmazonSmile

program, whereby they donate 0.5 % of the price of a

purchase     made      on     smile.amazon.com        to    an        eligible

charitable organization selected by the customer.                            See

id.   at   ¶¶ 42-43.          The    vast   majority       of    the     items

available     for       purchase       through    Amazon         are      also

available for purchase through the AmazonSmile program

at smile.amazon.com.           See id. at ¶ 15.

      To be selected by a customer to receive donations

through the AmazonSmile program, an entity must satisfy

the   program’s       eligibility      requirements.            See    id.    at

¶ 44.      These requirements include, among others, that

the entity is “a [26 U.S.C.] § 501(c)(3) ... public

charitable organization” located in the United States.

Id.     Furthermore, the organization cannot “engage in,

support,     encourage,         or    promote    intolerance,            hate,

terrorism, violence, money laundering, or other illegal

activities.”          Id.       Notably,      “[e]ntities         that       are

designated       by     [the]        SPLC   as   hate       groups           are




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automatically ineligible” to receive donations through

the AmazonSmile program.         Id. at ¶ 23.

    Coral Ridge alleges that it attempted to register

to receive donations through the AmazonSmile program,

see id. at ¶ 51, but that it was prohibited from doing

so because SPLC had designated it as a “hate group,”

id. at ¶ 24, 53.



                         IV.    DISCUSSION

               A. Defamation Claim Against SPLC

    Coral     Ridge    alleges      that    SPLC    defamed     it       by

designating it as a “hate group.”2



     2. Coral Ridge alleges defamation “pursuant to
Alabama common law.”   Am. Compl. (doc. no. 40) at 1.
Alabama’s lex loci delicti choice-of-law approach might
actually dictate the application of Florida defamation
law to this multi-state defamation action, given that
Coral Ridge is a Florida corporation with its principal
place of business there. See, e.g., Hatfill v. Foster,
415 F. Supp. 2d 353, 364-65 (S.D.N.Y. 2006) (McMahon,
J.).    Nevertheless, SPLC does not challenge the
application of Alabama law.    Therefore, “[b]ecause no
party has challenged the choice of” Alabama “libel law,
all are deemed to have consented to its application.”
Michel, 816 F.3d at 695 (internal quotation marks
omitted).  In any event, even if Florida law applied,
the outcome here would be the same, for, as explained

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    Because “[a]t the heart of the First Amendment is

the recognition of the fundamental importance of the

free flow of ideas and opinions on matters of public

interest and concern,” Bose Corp. v. Consumers Union of

United States, Inc., 466 U.S. 485, 503–504 (1984), a

‘public     figure’    asserting       a   defamation     claim     must

plausibly     allege      that     the      purported        defamatory

statement--here,         the       “Anti-LGBT         hate        group”

designation3--was (1) provable as false and (2) actually



below,   the   defamation           claim     fails      on     federal
constitutional grounds.

    3. In its response to the motion to dismiss, Coral
Ridge argues that the defamatory nature of the
“Anti-LGBT” designation is not before the court: only
SPLC’s “hate group” designation is the focus on the
defamation claim.   See Pl.’s Resp. to SPLC’s Mot. to
Dismiss (doc. no. 51) at 4-5.     While Coral Ridge has
chosen not to contest the “Anti-LGBT” part of the “hate
group” designation, this does mean that court should
ignore it in assessing whether SPLC’s statements were
defamatory.   The allegations of the amended complaint
make clear that the “Anti-LGBT” designation is an
inseparable part of SPLC’s application of the “hate
group” label to Coral Ridge.    See Am. Compl. at ¶ 119
(“SPLC published [Coral Ridge’s] trademarked name ‘D.
James Kennedy Ministries’ on its Hate Map, listing it
as an Anti LGBT hate group.”); id. at ¶ 56 (“SPLC ...
has labelled [Coral Ridge] as one of AmazonSmiles’
prohibited types of organizations with the following

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false,    and    (3)    that   SPLC    made   the    statement       with

“actual malice,” that is, “with knowledge that it was

false    or    with    reckless   disregard     of   whether    it    was

false or not.”4          New York Times v. Sullivan, 376 U.S.

254,     280    (1964).        Whether   this     heightened      legal

standard applies here depends on whether Coral Ridge is

a public figure--and not just any one.

       A public figure is defined by the “notoriety of

... [its] achievements or the vigor and success with



entry on SPLC’s ‘Hate Map’: D. James Kennedy Ministries
(formerly Truth in Action) Fort Lauderdale, Florida
ANTI LGBT.”); id. at ¶ 57 (alleging that Coral Ridge’s
entry on the Hate Map can be located by sorting for
“Anti LGBT” organizations, then clicking on a symbol
over Miami, Florida).     SPLC has made clear that it
views Coral Ridge as a “hate group” with respect to gay
people--not, for example, black people or Muslims.
Thus, the court rejects Coral Ridge’s argument that it
should ignore the “Anti-LGBT” part of the “hate group”
designation in assessing the legal claims.

    4. The Supreme Court has explicitly held that the
plaintiff bears the burden of proving falsity.      See
Phila. Newspapers, Inc. v. Hepps, 475 U.S. 767, 768-69,
775 (1986).    By implication, the burden as to the
provable-as-false requirement must also be on the
plaintiff, given that being provable as false is a
necessary condition for meeting the burden of proving
falsity.


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which      ... [it] seek[s] the public's attention.”                       Gertz

v.     Robert     Welch,     Inc., 418          U.S.     323,     342    (1974).

“[P]ublic figures usually enjoy significantly greater

access to the channels of effective communication and

hence have a more realistic opportunity to counteract

false      statements       than     private        individuals         normally

enjoy.”        Id. at 323.         Public figures thrust themselves

and     their    views      into    the     public       controversy      in   an

effort      to    influence         others.             See     Hutchinson     v.

Proxmire,        443      U.S.      111,        135-36        (1979)    (finding

scientist was not a public figure in part because he

“did     not     thrust     himself        or    his     views    into    public

controversy to influence others”).

       Coral Ridge concedes it is a public figure, and

this      concession        makes    sense,        given        its    focus   on

broadcasting its viewpoints through the media and the

global reach of its television program.                         See Am. Compl.

(doc.     no.    40)   at    32-33,       35,     39.         Consequently,    to




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succeed on this defamation claim against SPLC, it must

satisfy the First Amendment heightened standard.5

    To   decide     whether     Coral    Ridge    plausibly      pleads

these    three     constitutional        requirements        for     its

defamation claim, the court must first determine the

meaning (or meanings) of the term “hate group.”                    For,

without determining the meaning of “hate group,” it is

impossible to assess whether SPLC’s labeling of Coral

Ridge as “Anti-LGBT hate group” was provable as false,

actually false, and made with actual malice.                 Thus, the

court will turn to Coral Ridge’s amended complaint to

determine--under       the    motion-to-dismiss        standard--the

meaning of the term “hate group” for an average reader.

See St. Surin v. Virgin Islands Daily News, Inc., 21


    5. Thus, of course, this standard likely would not
apply if SPLC had called an ordinary church or ministry
a “hate group.”    Because, unlike the average church,
Coral Ridge is, as stated, a public, figure, a media
corporation   that   has  successfully   sought  public
influence and broadcast its views to millions through
its weekly television program.         Compare Hustler
Magazine v. Falwell, 485 U.S. 46, 47 (1988) (applying
New York Times standard to Jerry Falwell, “a nationally
known minister who has been active as a commentator on
politics and public affairs,” and thus a public
figure).

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F.3d 1309, 1317 (3d Cir. 1994) (“In defamation actions,

words should be construed as they would be understood

by the average reader.”).




                    1. Meaning of “Hate Group”

       As stated above, the tenet that a court must accept

as true the allegations in a complaint does not apply

to conclusory statements.          See Iqbal, 556 U.S. at 678.

Therefore,     in   pleading    the     meaning   of    “hate    group,”

Coral Ridge cannot rely on allegations that express “a

factual inference without stating the underlying facts

on which the inference is based.” Conclusory, Black’s

Law Dictionary (11th ed. 2019).                As detailed below,

Coral Ridge did just that.



       i. Coral Ridge’s Alleged Meaning of “Hate Group”

       The amended complaint asserts that, “A hate group

is legally and commonly understood as one that engages

[in]    or   advocates    crime    or    violence      against    others

based on their characteristics.”             Am. Compl. (doc. no.



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40)   at   ¶ 91;    see   also    id.    at   ¶ 66.      The    alleged

definitional       requirement    that    hate      groups   “engage[]

[in] or advocate[] crime or violence” is central to

Coral Ridge’s claim, since Coral Ridge contends that

its “hate group” designation is false because it “does

not engage in or advocate violence or crime against any

group.”    Id. at ¶ 123; see also id. at ¶¶ 66-69.                       In

other words, Coral Ridge’s main falsity argument--and

thus defamation claim--hinges on its allegation that a

required    trait    of   “hate    groups”     is    engaging    in      or

advocating crime or violence.6



    6. That the characteristic of engaging in or
advocating crime or violence is a requirement of Coral
Ridge’s alleged “hate group” definition reflects a
plain reading of its pleaded definition.    The amended
complaint says that a hate group is commonly understood
as “one that engages [in] or advocates crime or
violence,” Am. Compl. (doc. no. 40) at ¶ 91; this
categorical formulation expresses that a group must
have that characteristic to qualify.          Moreover,
interpreting the characteristic as a requirement reads
the allegations in the light most favorable to Coral
Ridge.    If the court were to read the alleged
definition as being inclusive of--but not restricted to
groups with that characteristic--then Coral Ridge’s
contention that its designation as a “hate group” is
false because it does not engage in or advocate crime
or violence would automatically fail. Put differently,

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       The court need not accept Coral Ridge’s alleged

definition of “hate group” because it is a conclusory

allegation.       Critically, Coral Ridge fails to plead any

facts     to    support        its     “generaliz[ed],”            “blanket

statement[]” about the commonly understood meaning of

“hate group.”         Roberts, 2013 WL 4046383, at *2.                     It

does    not,   for    example,       plead    that    “hate       group”   is

anywhere defined--whether in a dictionary, or by any

other    source      or    entity--to       require    engaging      in    or

advocating violence or crime.                Coral Ridge thus asserts

“a factual inference”--the commonly understood meaning

of “hate group”--"without stating the underlying facts

on which the inference is based.”                  Conclusory, Black’s

Law Dictionary (11th ed. 2019).                    The court will not

accept    Coral      Ridge’s    “naked       assertion[s]         devoid   of

further    factual        enhancement.”        Simpson       v.   Sanderson

Farms,    Inc.,      744    F.3d     702,    708     (11th    Cir.    2014)

(quoting Iqbal, 556 U.S. at 678).



Coral Ridge’s alleged lack of that characteristic can
be the basis of falsity only if the “hate group”
definition requires that characteristic.

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       If    courts       considering         motions     to    dismiss      were

obligated          to    accept    as     true       plaintiffs’      factually

unsupported definitions of words, concepts, and terms,

it    would     make      a   mockery      of       Federal    Rule   of    Civil

Procedure          12(b)(6)’s         pleading        standard.7      Requiring

courts        to        accept     as     true        plaintiffs’       pleaded

definitions             of       words        would      be      particularly

inappropriate in public-figure defamation suits such as

this     one,      where      “there     is     a    powerful    interest      in

ensuring that free speech is not unduly burdened by the

necessity of defending against expensive yet groundless

litigation.”            Michel, 816 F.3d at 702.

       Not    only      is    Coral     Ridge’s      conclusorily      asserted

definition         of    “hate    group”      unsupported       by    any   other

factual allegations; worse yet, it is contradicted by

more specific alleged facts that Coral Ridge pleads,



    7. For example, if a plaintiff buyer alleging that
a defendant seller fraudulently misrepresented the
number of apples in a delivery could successfully plead
any definition he wanted of “apples”--such as requiring
that they have seeds made of 24-karat gold--then even
the most frivolous claim could survive a motion to
dismiss.

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cites in its briefing, and asserts to be subject to

judicial notice.8              This court’s “duty to accept the

facts in the complaint as true does not require [it] to

ignore    specific       factual    details       of   the   pleading    in

favor of general or conclusory allegations.”                     Griffin

Indus., Inc. v. Irvin, 496 F.3d 1189, 1205-06, 1210

(11th     Cir.    2007)    (reversing       denial      of   motions     to

dismiss where “the facts in [plaintiff’s] own complaint

plainly contradict the conclusory allegation” in the

complaint); see also Veney v. Wyche, 293 F.3d 726, 730

(4th    Cir.     2002)    (stating       that   the    court   need     not

“accept    as    true     allegations      that    contradict    matters

properly    subject       to    judicial   notice”).         Here,   Coral

Ridge’s conclusorily alleged and factually unsupported




    8. “[I]n ruling on a motion to dismiss courts may
supplement the allegations in a complaint with facts
contained in judicially noticed materials,” without
converting the motion into a summary-judgement motion.
K.T. v. Royal Caribbean Cruises, Ltd., 931 F.3d 1041,
2019 WL 3312530, at *5 (11th Cir. July 24, 2019)
(citing Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
551 U.S. 308, 322 (2007)); cf. Bryant v. Avado Brands,
Inc., 187 F.3d 1271, 1278 (11th Cir. 1999).

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definition          does    not    trump     the    concretely       sourced,

specific definitions of “hate group” that it cites.

       In its amended complaint and briefing, Coral Ridge

cites     three      sources--other         than    itself     and   SPLC--of

definitions of a “hate group”: (1) judicial opinions,

(2) the Federal Bureau of Investigation (FBI), and (3)

the Anti-Defamation League (ADL).                   The definitions--or,

in     the    case     of    the   judicial        opinions,    lack    of    a

definition--of the term “hate group” provided by all of

these        sources        directly    contradict          Coral     Ridge’s

allegation that a “hate group is legally and commonly

understood as one that engages [in] or advocates crime

or violence against others.”                 Am. Compl. (doc. no. 40)

at ¶ 91.

       To start, the amended complaint cites four judicial

opinions to support its assertion that “the law defines

a hate group as one whose activities include violence

and crime.”          Id. at ¶ 65.          None of the cited opinions

defines the term “hate group,” and two do not even

mention       the    term:     Virginia      v.    Black,    538     U.S.   343



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(2003) (nowhere mentioning term); Capitol Square Review

& Advisory Bd. v. Pinette, 515 U.S. 753 (1995) (nowhere

mentioning term); Powers v. Clark, 2014 WL 6982475, at

*3    n.10    (E.D.     Va.     Dec.    9,   2014)   (Hudson,    J.)    (not

defining term); Doe v. Pittsylvania Cnty., 844 F. Supp.

2d     724,       740   (W.D.    Va.    2012)      (Urbanski,    J.)    (not

defining          term).        The    amended     complaint’s      blanket

assertion that “hate group” is legally defined in a

particular way is therefore contradicted by the more

specific fact that none of the cases cited by Coral

Ridge defines the term.

       Furthermore, unlike Coral Ridge’s definition, the

FBI’s and ADL’s definitions of a “hate group” do not

include       a    requirement        that   the   group   engage      in   or

advocate crime or violence.                  According to Coral Ridge,

the FBI defines “hate group” as, “An organization whose

primary purpose is to promote animosity, hostility, and

malice against persons of or with a race, religion,

disability, sexual orientation, ethnicity, gender, or

gender identity which differs from that of the members



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or the organization, e.g., the Ku Klux Klan, American

Nazi Party.”         Pl.’s Resp. to SPLC’s Mot. to Dismiss

(doc.    no.   51)    at    5     (quoting   FBI,    Hate     Crime    Data

Collection Guidelines And Training Manual, at 9 (2015),

https://ucr.fbi.gov/hate-crime-data-collection-

guidelines-and-training-manual.pdf).9                The ADL defines a

“hate    group”      as    “an     organization     whose      goals   and

activities are primarily or substantially based on a

shared     antipathy       towards        people    of   one     or    more

different                          races,                      religions,

ethnicities/nationalities/national                 origins,      genders,

and/or sexual identities. ... [T]he group itself must

have some hate-based orientation/purpose.”                     Id. at 5-6

(quoting                   Hate                Group,                  ADL,

https://www.adl.org/resources/glossary-terms/hate-


    9. Coral Ridge contends--and SPLC and this court
agree--that the definition contained in the FBI manual
is subject to judicial notice. This court takes notice
of--and considers for purposes of this motion to
dismiss--only the fact that an FBI manual with this
definition exists, but of course takes no notice as to
the veracity of the definition.      See U.S. ex rel.
Osheroff v. Humana Inc., 776 F.3d 805, 811-12, 811 n.4
(11th Cir. 2015).


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group).10           Again,     neither     of    these    definitions

contains the crime or violence requirement.11

    In addition to conflicting with the FBI and ADL

definitions, Coral Ridge’s alleged definition of “hate

group” is inconsistent with this court’s “common sense”

understanding of the words “hate” and “group.”                   Iqbal,

556 U.S. at 679 (explaining that courts must draw on

their “common sense” in determining whether plaintiffs


    10. The court takes judicial notice of the
existence of this ADL definition, which Coral Ridge
cites in its brief.

    11. For its part, SPLC defines “hate groups” as
those groups that “have beliefs or practices that
attack or malign an entire class of people, typically
for their immutable characteristics.” Am. Compl. (doc.
no. 40) at ¶ 59.          SPLC’s definition especially
undermines    Coral    Ridge’s    conclusory    allegation
concerning how “hate group” is “commonly understood,”
given that Coral Ridge also pleads that, “[a]s a result
of SPLC’s position as the alleged ‘premier U.S.
nonprofit organization monitoring the activities of
domestic hate groups and other extremists,’ ... SPLC’s
Hate Map [and other ‘hate group’ materials, goods, and
services] reach a large number of people in every state
in the United States and beyond.” Am. Compl. (doc. no.
40) at ¶ 75.    The term “hate group” is less likely to
be   “commonly   understood”   to    necessarily   involve
violence or crime if the widely viewed Hate Map
produced by a “premier” organization monitoring “hate
groups” does not define such groups as necessarily
engaging in or advocating violence or crime.

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meet the plausibility pleading standard).                            While the

word “hate” is sometimes associated with violence and

crime,     it     does      not     necessarily        connote        the     two.

Plainly, the word “group” carries no such connotation.

      In sum, the court need not accept Coral Ridge’s

blanket contention that a “hate group” is “legally and

commonly        understood        as    one     that    engages        [in]     or

advocates crime or violence against others,” Am. Compl.

(doc.    no.     40)   at    ¶ 91,      given    that     it    is    not     only

factually unsupported, but also contradicted by the FBI

and ADL definitions that Coral Ridge cites, as well as

by the court’s common-sense understanding of the words

“hate” and “group.”

      Beyond      belying         the   alleged        crime    or     violence

element of the “hate group” definition, the FBI and ADL

definitions also show that the term does not have a

single, “commonly understood” meaning.                     This is because

the definitions contain important differences from one

another.        For example, unlike the FBI definition, the

ADL     definition       does       not      require     that        the    group



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“promote” animosity, hostility, malice, antipathy, or

the    like;    under      the    ADL’s     definition,       a     white

supremacist organization is still a “hate group” even

if it keeps to itself.           See Pl.’s Resp. to SPLC’s Mot.

to Dismiss (doc. no. 51) at 5-6.                  Further, the FBI

definition requires that a group’s “primary purpose” be

the   promotion     of    its    bigoted    ideas,    while       the    ADL

definition is broader, including those whose “goals and

activities”     are      “substantially      based”    on     a    shared

antipathy towards people of a certain group.

      The conclusion that the term “hate group” has no

single, commonly understood meaning is reinforced by

the lack of a definition for the term in dictionaries,

of which the court takes judicial notice.                   See Veney,

293   F.3d     at   730    (“Nor     must    we    accept     as        true

allegations that contradict matters properly subject to

judicial notice or by exhibit.)”.              Neither Black’s Law

Dictionary (11th ed. 2019), Merriam-Webster Unabridged




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(online ed.), nor the Oxford English Dictionary (online

ed.), defines the term “hate group.”12




    12. Black’s Law Dictionary defines the distinct
term of “hate speech” as follows: “Speech whose sole
purpose is to demean people on the basis of race,
ethnicity, gender, religion, age, disability, or some
other similar ground, esp. when the communication is
likely to provoke violence.” Hate Speech, Black’s Law
Dictionary   (11th   ed.  2019).      Strikingly,  this
definition undercuts Coral Ridge’s definition of “hate
group” as requiring that the group engage in or
advocate crime or violence.   To explain: the key verb
in the definition--”to demean”--does not necessarily
entail engaging in or advocating crime or violence.
Furthermore, the word “especially” in the clause
“especially when the communication is likely to provoke
violence,” shows that hate speech may sometimes be
likely to provoke violence, but it is not always likely
to   provoke   violence.    Thus,   according   to  the
definition, “hate speech” does not necessarily provoke,
promote, or advocate crime or violence. Therefore, if
the court were to accept Coral Ridge’s asserted
definition of “hate group” as requiring engaging in or
advocating crime or violence, it would mean that there
could be a group exclusively and zealously dedicated to
engaging in “hate speech”--as defined by Black’s Law
Dictionary--that would not qualify under Coral Ridge’s
definition of a “hate group,” because it did not engage
in or advocate crime or violence.        This would be
absurd.


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                   ii. Court’s Conclusion as to
                       Meaning of “Hate Group”

       Accepting as true the well-pleaded facts--but not

the conclusory allegations--and construing them in the

light    most     favorable     to     Coral    Ridge,     the     court

concludes that there is no single, commonly understood

meaning of the term “hate group.”              Rather, as shown by

the conflicting definitions cited by Coral Ridge--and

dictionaries’ lack of a definition--the term does not

have    one     precise   definition,       and    instead       may     be

ascribed multiple different meanings by “the average

reader.”      St. Surin, 21 F.3d at 1317.13



    13. Interestingly, there appears to be no uniform
definition of “hate group” in Canada either. The
Canadian Anti-Hate Network defines a hate group as “a
group which, as demonstrated by statements by its
leaders or its activities, is overtly hateful towards,
or creates an environment of overt hatred towards, an
identifiable           group            ...          .”
https://www.antihate.ca/what_is_a_hate_group      (last
accessed on September 6, 2019).       Meanwhile, Queens
University’s Human Rights Office defines “hate groups”
as “organizations which: spread lies intended to incite
hatred toward certain groups of people; advocate
violence against certain groups on the basis of sexual
orientation, race, colour, religion etc.; claim that
their identity (racial, religious etc.) is 'superior'
to that of other people; do not value the human rights

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    With this determination as to the meaning of “hate

group” in mind, the court will now assess whether Coral

Ridge    has   plead   “enough    facts    to    state     a   claim     to

relief that is plausible on its face.”                   Twombly, 550

U.S. at 570.14



         2. Constitutional Requirements for Defamation

    As     previously      mentioned,      the     First       Amendment

imposes three requirements on Coral Ridge:                      It must

plausibly allege that the “hate group” designation is

provable as false and actually false, and that SPLC

made the designation with “actual malice.”                 While Coral




of         other          people.”                   See
http://www.queensu.ca/humanrights/initiatives/end-hate-
project/what-hate/what-hate-group   (last  accessed   on
September 6, 2019).

    14. As the “actual malice” subsection below
explains, an alternative holding in this case is that,
even if the court were to accept as true Coral Ridge’s
allegation that “hate group” is commonly understood to
require engaging in or advocating crime or violence,
Coral Ridge still would not plausibly plead actual
malice, and therefore its amended complaint would still
be dismissed.

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Ridge must meet all three requirements, it cannot, for

the reasons outlined below, satisfy any of them.



                          i. Provable as False

       Under     the    First     Amendment,       the    “hate     group”

designation is not actionable unless it is “provable as

false.”        Milkovich v. Lorain Journal Co., 497 U.S. 1,

19    (1990).15        Statements    are    provable     as   false   when



    15. Milkovich stated that the “provable as false”
requirement for allegedly defamatory statements on
matters of public concern applied “at least in
situations, like the present, where a media defendant
is involved,” thus reserving the question whether it
applied with a nonmedia defendant. Id. at 19-20, n.6.
However, this court agrees with other courts that
subsequently concluded that the requirement applies
regardless of whether the defendant is characterized as
belonging to the media. See Obsidian Fin. Grp., LLC v.
Cox, 740 F.3d 1284, 1291 (9th Cir. 2014) (agreeing with
“every other circuit to consider the issue,” which have
“held that the First Amendment defamation rules in [New
York Times v.] Sullivan and its progeny apply equally
to the institutional press and individual speakers”);
Snyder v. Phelps, 580 F.3d 206, 219 n.13 (4th Cir.
2009) (“[W]e believe that the First Amendment protects
nonmedia speech on matters of public concern that does
not contain provably false factual assertions.”); Flamm
v. Am. Ass’n of Univ. Women, 201 F.3d 144, 149 (2d Cir.
2000) (“[A] distinction drawn according to whether the
defendant is a member of the media or not is
untenable.”); Piccone v. Bartels, 40 F. Supp. 3d 198,

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207 (D. Mass. 2014) (Wolf, J.) (agreeing with collected
cases in holding that “the constitutional limitations
on speech that can support liability for defamation
apply in cases involving non-media defendants”); see
also In re IBP Confidential Bus. Documents Litig., 797
F.2d 632, 642 (8th Cir. 1986); Garcia v. Bd. Of Educ.
Of Socorro Consol. Sch. Dist., 777 F.2d 1403, 1411
(10th Cir. 1985).

     Concluding that the media-nonmedia distinction is
irrelevant comports with Eleventh Circuit decisions
that have applied the “actual malice” standard to
nonmedia defamation defendants.   See Echols v. Lawton,
913 F.3d 1313, 1321 (11th Cir. 2019); Morgan v. Tice,
862 F.2d 1495, 1500 (11th Cir. 1989).            Indeed,
providing less constitutional protection to nonmedia
defendants would conflict with Turner v. Wells, where
the    Eleventh   Circuit   rejected   the    defamation
plaintiff’s argument that “a different set of rules”
applied to the allegedly defamatory report because it
was not published by a media organization.      879 F.3d
1254, 1270-71 (11th Cir. 2018).     The court reasoned:
“The     First    Amendment   protects     both    media
(‘freedom ... of the press’) and non-media (‘freedom of
speech’) defendants.” Id. at 1271.

    Finally,   giving   less  protection   to  nonmedia
defendants would be at odds with the Supreme Court’s
statement in Citizens United v. Fed. Election Comm’n:
“We have consistently rejected the proposition that the
institutional press has any constitutional privilege
beyond that of other speakers.”      558 U.S. 310, 352
(2010); cf. at 326 (“Substantial questions would arise
if courts were to begin saying what means of speech
should be preferred or disfavored.”).

    To summarize, because the constitutional limits on
defamation actions apply equally to media and nonmedia
defendants, this court need not decide on which side of

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their truth or falsity can be determined based on “a

core      of     objective     evidence.”             Id.    at       21.         Put

differently,          the   requirement          is     satisfied           if    the

statement        is    “subject       to       empirical         verification.”

Michel, 816 F.3d at 697.

       An alleged defamatory statement is generally not

provable as false when it labels the plaintiff with a

term that has an imprecise and debatable meaning.                                See,

e.g., Buckley v. Littell, 539 F.2d 882, 893-94 (2d Cir.

1976).       In Buckley, the author and commentator William

F.     Buckley,       Jr.   sued    author       and    Holocaust           scholar

Franklin H. Littell for libel because Littell’s book

characterized          Buckley      as     a     “fellow         traveler”         of

“fascism” or the “radical right.”                           Id. at 890, 893.

The Second Circuit Court of Appeals held that those

terms     were    “concepts        whose   content          is   so   debatable,

loose and varying, that they are insusceptible to proof



the “blurred” media-nonmedia line SPLC falls.  Id. at
352 (“With the advent of the Internet and the decline
of print and broadcast media ... the line between the
media and others who wish to comment on political and
social issues becomes far more blurred.”).

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of    truth     or    falsity.”         Id.       at    894.        As    the    court

emphasized,          the   ambiguous       labels            contrasted      sharply

with     accusations         of    being      a    member         or     legislative

representative of a concrete political party, which are

allegations that are “susceptible to proof or disproof

of falsity.”           Id.        That the plaintiff and defendant

defined “fascism” differently was but one example of

the     “imprecision       of     the   meaning             and   usage    of    the[]

term[] in the realm of political debate.”                                Id. at 890,

893.

       Subsequently, in Ollman v. Evans, the D.C. Circuit

Court      of    Appeals          elaborated           on     and      applied     the

principles set forth in Buckley.                             See 750 F.2d 970,

979-87 (D.C. Cir. 1984) (en banc).16                          The court held to



    16. Both Buckley and Ollman analyzed whether the
defamatory statements had a precise meaning and were
provable as false to determine whether the statements
were of fact or “opinion.”     The fact-versus-opinion
distinction was relevant because those courts--and
others--considered opinions to be protected by the
First   Amendment.  In   fact,  Ollman  set   forth  an
influential four-factor test for distinguishing fact
from constitutionally protected opinion.   See 750 F.2d
at 979.    The first factor was “whether the statement
has a precise core of meaning for which a consensus of

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understanding   exists   or,  conversely,   whether   the
statement is indefinite and ambiguous.”        Id.    The
second factor was “the statement’s verifiability--is
the    statement    capable    of   being     objectively
characterized as true or false?” Id.; see also id. at
981 (“[I]s the statement objectively capable of proof
or disproof?”). These two factors were essentially the
driving considerations in Buckley and Ollman, which
both   reasoned    that   certain   alleged    defamatory
statements were constitutionally protected opinion
because their meaning was highly ambiguous and not
provable as false.

    Later, in Milkovich, the Supreme Court clarified
that there is no independent constitutional protection
for “opinion” that is separate from the requirement
that the defamatory statement be provable as false.
497 U.S. at 19-21.     However, Milkovich’s rejection of
the   fact-versus-“opinion”     dichotomy    was   largely
semantic, as the Court recognized the “provable as
false” requirement that drove the “opinion”-versus-fact
analyses in Buckley and Ollman.      Therefore, Buckley’s
and Ollman’s analyses of whether the statements were
provable as false are still most instructive and
directly    pertinent   to   assessing   the   still-valid
constitutional requirement that a defamatory statement
be provable as false, even though the provable-as-false
analyses in those cases were technically to determine
whether the statements qualified as “opinion”--a term
that Milkovich deemed constitutionally irrelevant. Or,
as one commentator put it: “The Court in Milkovich was
primarily rejecting only the terminology of ‘fact v.
opinion.’ The Court actually endorsed rather than
rejected the essential substance of the previously
existing constitutional protection for opinion. ...
[S]tatements not subject to objective proof ... are
still    immune   from    liability    under   the   First
Amendment. ...      [T]he rich body of jurisprudence
developed by lower courts ... under the rubric of the

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be     “obviously         unverifiable”     the    alleged      defamatory

statement that the plaintiff academic was an “outspoken

proponent       of      political     Marxism.”     Id.   at     987.       It

highlighted that the characterization was “much akin

to” the “fascist” label in Buckley, in that it was a

“loosely definable, variously interpretable statement”

made      in      the      context     of   “political,        social       or

philosophical             debate.”       Id.       The    D.C.        Circuit

contrasted, on the one hand, the political Marxist and

fascist designations with, on the other, an accusation

of a crime, which is a “classic example of a statement

with a well-defined meaning.”               Id. at 980.        Even though

accusations          of     crimes    are   “not   records       of     sense

perceptions,” they depend for their meaning on social

norms      that      “are     so     commonly   understood       that     the

statements are seen by the reasonable reader or hearer

as implying highly damaging facts.”                Id.




‘opinion’ doctrine remains alive and well.” 1 Rodney A.
Smolla, Law of Defamation § 6:21 (2d ed. May 2019
update).

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       The    Ollman       court          explained      why       demanding        that

defamatory statements be “objectively capable of proof

or      disproof”          safeguards             important          free      speech

interests: “[I]nsofar as a statement is unverifiable,

the     First      Amendment         is    endangered         when    attempts       are

made to prove the statement true or false.”                                    Id. at

981.         This    is    because         without       “a    clear     method       of

verification with which to evaluate a statement--such

as      labelling          a        well-known        American          author         a

‘fascist’--the            trier      of    fact    may    improperly         tend     to

render a decision based upon approval or disapproval of

the     contents      of       the    statement,         its       author,     or    its

subject.”           Id.     (internal         citations            omitted).         “An

obvious       potential             for     quashing          or     muting     First

Amendment activity looms large when juries attempt to

assess       the    truth      of    a     statement      that       admits     of    no

method of verification.”                   Id. at 981-82.

       So, with these cases in mind, is the statement that

Coral Ridge is a “hate group” provable as false?                                     No,

it is not.          Like in Ollman and Buckley, the meaning of



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the    term    “hate       group”      is       so    “debatable,         loose    and

varying,”      that        labeling            Coral     Ridge       as     one     is

“insusceptible to proof of truth or falsity.”                               Buckley,

539    F.2d   at     894.        Similar         to    the    terms       “fascism,”

“radical      right,”          and   “political          Marxist,”         the    term

“hate       group”        also       suffers           from    a      “tremendous

imprecision of the meaning and usage ... in the realm

of political debate.”                Id. at 893.         This imprecision is

reflected in the conflicting definitions of the term

espoused by Coral Ridge and SPLC, as well as by the

ADL, and FBI.             Unlike the accusation of a crime, the

accusation of being a hate group does not derive its

meaning       from       “commonly          understood”            social     norms.

Ollman, 750 F.2d at 980.                A “hate group” designation is

also    a     far        cry    from       the       objectively          verifiable

allegation          of     having          a     “well-defined             political

affiliation,”             such        as         being        “a      legislative

representative of the Communist Party.”                              Buckley, 539

F.2d at 894.




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       In sum, because “hate group” has a highly debatable

and    ambiguous      meaning,    Coral       Ridge’s    designation          as

such is not “provable as false.”                  Milkovich, 497 U.S.

at 19.17      Therefore, the First Amendment protects the

statement.



                                 ii. False

       In    addition     to     requiring       that        a     defamatory

statement     be   provable      as    false,    the    First       Amendment

also requires that “a public-figure plaintiff must show

the falsity of the statements at issue in order to

prevail in a suit for defamation.”                    Phila. Newspapers,

Inc.    v.   Hepps,     475    U.S.    767,    775    (1986);       see   also

Hustler      Magazine,    Inc.    v.       Falwell,    485       U.S.   46,   52


    17. The court does not go so far as to hold that a
“hate group” label can never be provable as false. The
court need not address whether it would be possible for
a factual situation to arise in which the designation
would be provable as false because no plausible
construction of the ambiguous term would fit the
plaintiff, such as might be the case if the term were
applied to a middle-school chess team with no views on
anything other than chess strategy.    That is not the
case here, given that Coral Ridge is a public figure
that espouses its opposition to homosexual conduct.


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(1988).       Coral Ridge cannot prove the falsity of the

“hate group” designation, given that, as the court has

found,      the     designation        is        not    provable     as     false.

Logically speaking, a plaintiff cannot prove what is

not   provable.          Cf.     Milkovich,            497    U.S.   at   16,    19

(inferring        the        provable-as-false               requirement      from

Hepps’s requirement to prove falsity).

      This court’s holdings that Coral Ridge does not

plausibly plead that the “hate group” designation was

(1)     provable        as     false        or     (2)       false    are     each

independently         sufficient       to         dismiss      the   defamation

claim.      Nevertheless, the court will now discuss Coral

Ridge’s     failure      to     plead,      plausibly,         actual     malice,

which    is    an     alternative        ground         for    dismissing       the

claim.



                              iii. Actual Malice

      The     third     and    final     First         Amendment     hurdle     for

Coral Ridge is that it must plausibly allege that SPLC

made the “hate group” designation with “actual malice,”



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that is, “with knowledge that it was false or with

reckless disregard of whether it was false or not.”

New   York    Times,      376   U.S.   at    280.    “Actual   malice”

requires falsity.          See Air Wisconsin Airlines Corp. v.

Hoeper,      571   U.S.     237,   247      (2014)   (“One   could       in

principle construe the language of the actual malice

standard to cover true statements made recklessly.                   But

we have long held, to the contrary, that actual malice

entails falsity.”).             Therefore, Coral Ridge’s failure

to plead plausibly that the “hate group” designation is

provable as false or false necessarily means that it

cannot plausibly allege “actual malice.”

      Nonetheless, for the following reasons, even if the

court were to conclude that the “hate group” label was

both provable as false and actually false, Coral Ridge

still would not plausibly allege actual malice.

      The test for actual malice “is not an objective one

and the beliefs or actions of a reasonable person are

irrelevant.”       Michel, 816 F.3d at 702-03 (citing St.

Amant v. Thompson, 390 U.S. 727, 731 (1968)).                  Rather,



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the   plaintiff      must       plead    enough    facts   to    allow    the

court    to    draw       the    reasonable        inference     that     the

defendant, “instead of acting in good faith, actually

entertained serious doubts as to the veracity of the

published account, or was highly aware that the account

was probably false.”             Id.    Coral Ridge does not satisfy

this test.

      Coral    Ridge’s      basic       contention      regarding      actual

malice is that the “hate group” definition that SPLC

used in designating it as such is so far removed from

the commonly understood meaning of the term that SPLC

must have known--or at least recklessly disregarded--

the falsity of the designation.                   See, e.g., Am. Compl.

(doc.    no.   40)    at    ¶ 67       (“SPLC’s    definition     of    ‘hate

group’ is so far outside of how hate groups are legally

and   culturally      understood         that ... SPLC      knew    of    the

falsity of its definition at the time it designated the

Ministry a hate group ... .”); id. at ¶ 67, 69.                            In

other words, according to Coral Ridge, SPLC’s actual

malice   should      be    inferred       from    the   gaping   disparity



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between, on the one hand, the common understanding that

all     hate     groups     engage    in     or    advocate      crime      or

violence, and, on the other, SPLC’s broader definition

of “hate group” and its application of that definition

to    Coral    Ridge    for    “oppos[ing]        homosexual     conduct.”

Id. at ¶ 61.

       Fatal to Coral Ridge’s contention is the reality

that “hate group” has no single, commonly understood

meaning.       Without a commonly understood meaning, there

can be no chasm between the commonly understood meaning

and SPLC’s definition.

       Furthermore, Coral Ridge still would not plausibly

allege actual malice even if this court were to accept

as     true    its    allegation      that    the    single,      commonly

understood meaning of “hate group” requires that the

group      engage      in   or     advocate       crime     or   violence.

Granted,       if    that   were   the     case,    there    would   be      a

significant discrepancy between the commonly understood

meaning of a hate group and SPLC’s definition, given

that the latter lacks a violence or crime requirement.



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And, admittedly, a substantial disparity between the

commonly    understood       meaning       of   a    term    and     the

definition relied on by an alleged defamatory speaker

might, in certain circumstances, lead to a reasonable

inference of knowledge or recklessness as to falsity.

Cf. Michel, 816 F.3d at 703 (noting that the Supreme

Court has stated that actual malice “can be inferred in

certain circumstances,” such as when allegations are

“so   inherently    improbable      that    only    a   reckless     man

would have put them in circulation”).                   Nevertheless,

those   circumstances      are   not   present      under   the    facts

pleaded here.

      Specifically, Coral Ridge pleads that SPLC, holding

itself out to the public as a “premier” U.S. monitor of

“hate groups,” publicly disseminates its own definition

of “hate groups” to a “vast” audience of people and

media across the country.           Am. Compl. (doc. no. 40) at

¶¶ 71, 143.18       Coral Ridge does not plead any facts



    18. SPLC puts its definition of a “hate group” on
its website at https://www.splcenter.org/hate-map. See
Am. Compl. (doc. no. 40) at ¶ 59. On its website, SPLC

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indicating that SPLC subjectively doubts or disbelieves

the validity or accuracy of the definition that it so

widely promotes under the banner of being a premier

“hate group” monitor.         Consequently, even if the court

accepted    Coral    Ridge’s     asserted     commonly      understood

meaning of “hate group,” the pleaded facts, read in the

light most favorable to Coral Ridge, would support the

reasonable       inference     that    SPLC    promotes      its     own

sincerely held view of the meaning of “hate group,”

despite    the     difference     between     its    view     and    the

commonly understood meaning that a “hate group” engages

in or advocates crime or violence.19                   Setting aside




claims to be the “premier U.S. nonprofit organization
monitoring the activities of domestic hate groups and
other extremists.”   Id. at ¶ 71.   SPLC “disseminates,
distributes and promotes the Hate Map and resulting
hate group designations on its website.”      Id. ¶ 21.
The dissemination of the Hate Map and hate group
designations “is nothing short of vast,” as the “SPLC’s
website receives an extremely large number of views and
significant general media exposure.”     Id. at ¶ 143.
The Hate Map reaches “a large number of people in every
state in the United States and beyond.” Id. at ¶ 75.

    19. The same would be true if the court were to
accept the FBI’s or ADL’s definitions of a hate group

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the     above-discredited                allegations       claiming     a    common

definition of “hate group,” the pleaded facts do not

lead to a reasonable inference that “instead of acting

in     good    faith,”           SPLC    “actually        entertained       serious

doubts        as     to        the    veracity”      of    its    “hate      group”

definition         and         application      to   Coral       Ridge,     or   was

“highly aware” that the definition and designation was

“probably false.”                    Michel, 816 F.3d at 702-03.20               The

bottom        line        is     that,     regardless       of    the     commonly

understood meaning of “hate group,” Coral Ridge does


as providing the single, commonly understood meaning of
the term.
    20.   Still  operating  under  the   counterfactual
situation in which the court credited Coral Ridge’s
definition of “hate group” as the single, commonly
understood meaning of the term, the court might have
reached a different conclusion as to actual malice if
SPLC did not publish and widely disseminate its own
definition; or if its definition were ridiculously
outlandish.   It also might have been a different case
if the allegedly defamatory term SPLC defined on its
website was not so germane to its mission, such as if
SPLC started to publish a list of purported “substance
abusers”--a topic far removed from its mission to
monitor hate groups--and then provided a highly
unconventional definition of the term.    Circumstances
such as these might indicate that SPLC was acting in
bad faith. Of course, they do not exist here.


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not plausibly allege that SPLC’s subjective state of

mind was sufficiently culpable.

       To find actual malice just because SPLC publicized

a   meaning     of     “hate     group”       that    conflicted          with   the

common        understanding        of     the        term     would       severely

undermine       debate     and    free       speech       about     a   matter    of

public concern.            This is because, even if the term had

achieved a commonly understood meaning, that meaning

would not be fixed forever, but rather could evolve

through       public    debate.          To    sanction       a     speaker      for

promoting       a    genuinely      held       dissenting          view    of    the

meaning of “hate group” would be akin to punishing a

speaker for advocating new conceptions of terms like

“terrorist,” “extremist,” “sexist,” “racist,” “radical

left        wing,”     “radical     right          wing,”         “liberal,”      or

“conservative.”            Punishing speakers to preserve status

quo ideas would be anathema to the First Amendment.

                                        ***

       If    Coral     Ridge     disagrees         with     the    “hate    group”

designation,         its    hope     for       a     remedy        lies    in    the



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“marketplace        of     ideas,”          not    a     defamation         action.

Milkovich,     497       U.S.   at     18    (citing         Abrams    v.    United

States,      250     U.S.       616,        630     (1919)       (Holmes,       J.,

dissenting)        (“[T]he      ultimate          good      desired    is   better

reached by free trade in ideas-- ... the best test of

truth   is    the     power      of    the        thought      to     get    itself

accepted in the competition of the market.”).                                 As a

public figure, with a national, if not international

audience, and a figure that has already “been vocal

about its position on homosexuality” and maintains that

“speaking     out    on     these      issues       is      necessary,”       Pl.’s

Resp. to SPLC’s Mot. to Dismiss (doc. no. 51) at 10,

Coral     Ridge     is    free       publicly          to    engage    SPLC;     to

criticize SPLC’s definition of a “hate group”; and, in

particular, to challenge Coral Ridge’s designation as

such.     This engagement should be in the court of public

opinion, not a federal court.                          The defamation claim

will be dismissed with prejudice.




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               B. Lanham Act Claims Against SPLC

    Coral     Ridge    seeks     to       hold     SPLC       liable           for   its

designation    of     Coral    Ridge        as    a     “hate      group”        under

Section 43(a) of the Lanham Act, which is codified at

15 U.S.C. § 1125(a).           This provision establishes “two

distinct     bases      of     liability:               false        association,

§ 1125(a)(1)(A),               and               false               advertising,

§ 1125(a)(1)(B).”             Lexmark        Int'l,           Inc.        v.    Static

Control    Components,       Inc.,        572    U.S.     118,       122       (2014).

Coral Ridge brings both types of claims.

    Coral     Ridge    claims        that        SPLC    engaged           in    false

advertising by falsely designating it a “hate group” on

its Hate Map, disseminating the Map and “hate group”

designation in connection with reports and trainings,

and engaging in fundraising focused on the Hate Map and

“hate      group”      designations.                     See          15        U.S.C.

§ 1125(a)(1)(B)        (establishing              claim         for        use       “in

connection    with     goods    and        services”          of     “a    false      or

misleading     description           of    fact         ...     in        commercial

advertising or promotion”).



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    Coral Ridge’s false-association claim rests on many

of the same allegations, but focuses on SPLC’s use of

Coral Ridge's trademarked name.               Coral Ridge contends

that the use of its trademarked name on the Hate Map is

likely    to    cause     confusion      as    to    Coral     Ridge’s

“association” with other hate groups on the Map, such

as the Ku Klux Klan and the American Nazi Party.                     See

15 U.S.C. § 1125(a)(1)(A) (establishing claim for use

of a trademark “in connection with goods and services”

that “is likely to cause confusion                  ... as to        ...

association”).

    Because Coral Ridge’s claims cannot, as an initial

matter, withstand the rigorous protections of the First

Amendment, and because it has not pleaded viable claims

under the statute, the claims fail.



                        1. First Amendment

    As the Supreme Court has made clear, even when they

do not bring a defamation claim, ‘public figures’ who

seek to sue others who criticize them may still be



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subject      to     New   York     Times       v.    Sullivan’s        heightened

requirements for liability. 376 U.S. 254 (1964).

       In Hustler Magazine, Inc. v. Falwell, 485 U.S. 46

(1988), Jerry Falwell, a nationally known minister and

commentator on politics, had successfully sued Hustler

Magazine, a nationally circulated magazine, to recover

damages       for     ‘intentional            infliction        of         emotional

distress’          arising        from        the     publication            of    an

advertisement         “parody”       which,          among     other         things,

portrayed         Falwell    as     having          engaged     in     a     drunken

incestuous rendezvous with his mother in an outhouse.

In     overturning        the     lower-court          jury         verdict,      the

Supreme Court, while recognizing that the publication

was “gross and repugnant in the eyes of most,” 485 U.S.

at 50, found that, because Falwell was concededly a

public figure, he was subject to the New York Times’s

twin      obligations        of    showing          that      the     publication

contains      “a     false   statement          of    fact”     and        that   the

statement “was made with ‘actual malice.’”                           Id. at 56.




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       In explaining why the Supreme Court found as it

did,    this    court       must,      as    did     the    Supreme   Court    in

Falwell,       revisit        certain         well-founded          principles,

albeit only briefly.                These principles, as summarized

in Falwell, are as follows: “At the heart of the First

Amendment       is    the        recognition          of     the    fundamental

importance of the free flow of ideas and opinions on

matters of public interest and concern. ‘[T]he freedom

to speak one's mind is not only an aspect of individual

liberty--and         thus    a    good       unto     itself--but      also    is

essential       to    the     common         quest    for     truth   and     the

vitality       of    society      as     a    whole.’         Bose    Corp.    v.

Consumers Union of United States, Inc., 466 U.S. 485,

503–504    (1984).      We       have       therefore       been   particularly

vigilant to ensure that individual expressions of ideas

remain free from governmentally imposed sanctions.                            The

First Amendment recognizes no such thing as a ‘false’

idea.     Gertz v. Robert Welch, Inc., 418 U.S. 323, 339

(1974).        As    Justice        Holmes         wrote,    ‘when    men   have

realized that time has upset many fighting faiths, they



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may come to believe even more than they believe the

very foundations of their own conduct that the ultimate

good desired is better reached by free trade in ideas--

that the best test of truth is the power of the thought

to get itself accepted in the competition of the market

...     .’    Abrams   v.    United    States, 250        U.S.    616,       630

(1919)       (dissenting     opinion).”         Falwell,    485       U.S.    at

50-51 (emphasis added).

       The Falwell Court went on to state that: “The sort

of    robust     political        debate   encouraged      by    the    First

Amendment is bound to produce speech that is critical

of those who hold public office or those public figures

who     are    ‘intimately        involved   in    the     resolution         of

important public questions or, by reason of their fame,

shape events in areas of concern to society at large.’

Associated        Press      v.    Walker,      decided     with       Curtis

Publishing       Co.    v.   Butts, 388      U.S.    130,       164    (1967)

(Warren,       C.J.,      concurring       in     result).            Justice

Frankfurter put it succinctly in Baumgartner v. United

States, 322 U.S. 665, 673–674 (1944), when he said that



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‘[o]ne of the prerogatives of American citizenship is

the right to criticize public men and measures.’ Such

criticism, inevitably, will not always be reasoned or

moderate; public figures as well as public officials

will be subject to ‘vehement, caustic, and sometimes

unpleasantly sharp attacks,’ New York Times, supra, 376

U.S., at 270.”      Falwell, 485 U.S. at 51.

       Falwell argued that, despite these First Amendment

principles, a different standard should apply in this

case    because   the   government      sought      to   prevent    “not

reputational damage, but the severe emotional distress

suffered    by    the   person    who    is   the    subject     of      an

offensive publication.”          Falwell, 485 U.S. at 52.          .

       The Court rejected this argument, reasoning                 that:

“[I]n the world of debate about public affairs, many

things done with motives that are less than admirable

are protected by the First Amendment ... . [E]ven when

a speaker or writer is motivated by hatred or illwill

his expression was protected by the First Amendment:

‘Debate on public issues will not be uninhibited if the



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speaker must run the risk that it will be proved in

court that he spoke out of hatred; even if he did speak

out of hatred, utterances honestly believed contribute

to the free interchange of ideas and the ascertainment

of truth.’       [Garrison v. Louisiana, 379 U.S. 64, 73

(1964)].”    Falwell, 485 U.S. at 53 (emphasis added).

    Critical to Court was not the “label” placed on the

cause of action, New York Times, 376 U.S. at 269 (“In

deciding the question now, we are compelled by neither

precedent nor policy to give any more weight to the

epithet ‘libel’ than we have to other ‘mere labels' of

state law.”), but rather whether the concern raised by

New York Times and reiterated in later cases was at

issue:   that     “debate      on    public     issues     should        be

uninhibited, robust, and wide-open               ... .”      Id., 376

U.S. at 270.      As the Falwell Court emphasized: ”At the

heart of the First Amendment is the recognition of the

fundamental importance of the free flow of ideas and

opinions on matters of public interest and concern.”

485 U.S. at 50 (emphasis added).



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       The   Falwell      Court       then      concluded:        “This      is    not

merely       a     ‘blind        application’             of     the New          York

Times standard           ...     ,     it       reflects        our    considered

judgment     that      such    a     standard       is     necessary      to      give

adequate ‘breathing space’ to the freedoms protected by

the First Amendment.”                Id. at 56.

       Here, as discussed above, Coral Ridge has conceded

that    it   is    a     ‘public      figure.’            Public      figures,      as

stated,      are       defined        by     “the        notoriety      of     their

achievements or the vigor and success with which they

seek the public's attention,” Gertz, 418 U.S.at 342;

they “usually enjoy significantly greater access to the

channels of effective communication and hence have a

more     realistic         opportunity              to     counteract          false

statements        than    private          individuals         normally      enjoy,”

id. at 323; and they “thrust themselves and their views

into the public controversy in an effort to influence

others,      see    Hutchinson         v.       Broxmire,       443    U.S.       111,

135-36 (1979).




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      Coral Ridge admits that it is a public figure, with

quite    significant        “access      to    the     channels          of

communication” through its television and other media

efforts.     Id. at 323.      It freely chose to take a public

stance on an issue of broad, pressing national debate

and     public      concern:       homosexuality,          and     more

specifically the morality of “homosexual conduct” and

the legal right to same-sex marriage.                See Pl.’s Resp.

to SPLC’s Mot. to Dismiss (doc. no. 51) at 10 (Coral

Ridge not only admits that “the Ministry has been vocal

about its position on homosexuality,” it also argues

that “speaking out on these issues is necessary).

      It has further conceded that the dispute between it

and SPLC arises out of SPLC’s labelling of it as an

“Anti-LGBT hate group” for its stance on this debate.

See Am. Compl. (doc. no. 40) at ¶ 154.                At issue here,

therefore,    is    nothing     less   than    a   public     figure’s

engagement in an out-and-out “public debate” on one of

the matters of “highest public interest and concern” in



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this country.          New York Times, 376 U.S. at 266.                 That

being so, ”adequate ‘breathing space,’” Falwell, 485

U.S. at 56, in the form of the protections provided in

New York Times v. Sullivan must be given.

    Coral Ridge argues that it is not a hate group;

that, while it “opposes homosexual conduct,” it “has

nothing but love for people who engage in homosexual

conduct,” Am. Compl. (doc. no. 40) at ¶ 61; and that

its views on “same-sex marriage” and the “homosexual

agenda”     are    “decent    and    honorable,”      id.    at     ¶     82

(quoting    Obergefell       v.   Hodges,   135     U.S.    2584,       2602

(2015)).          It   further    argues    that,    because      SPLC’s

labeling, in response to its stand, is “in connection”

with “goods and services,” it should be able to recover

damages under the Lanham Act.                Id. at ¶¶ 125, 145.

But, when Coral Ridge, as a public figure, entered the

public debate about gay rights, it took on the risk

that it and its goods and services would be adversely

affected.     A public figure cannot enter the fray of

debate halfway.         As the Supreme Court cautioned in the



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Falwell    case:    The     public       figure     that       “vaunts    [its]

spotless        record      and      sterling           integrity        cannot

convincingly       cry     ‘Foul!’        when     an     opponent       or    an

industrious       reporter        attempts        to      demonstrate         the

contrary.”       Monitor Patriot Co. v. Roy, 401 U.S. 265,

274 (1971).

      Moreover, there is nothing in New York Times v.

Sullivan   and     its     progeny       that    suggests       that,    simply

because a public figure that has entered the fray of

public debate sells goods or services, it should when

verbally       attacked    escape    the        heightened       requirements

for establishing liability under the First Amendment

and should enjoy an uneven playing field, that is, an

advantage over those public figures that do not sell

goods    and    services.         Coral    Ridge        joined    many    other

public    figures        around    the     country        in    the   national

discussion about the rights of gay people.                        When it did

this it opened itself up to criticisms about its views.

For      all       the      ‘public             figure’         participants,

name-calling--“purveyor             of     sin     and         indecency”      or



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“purveyor of hate”--comes with the turf.                  Coral Ridge

has joined in that public debate and must now abide by

the same rules all other public figures do.

      Having found that, in asserting Lanham Act claims,

Coral Ridge is subject to the heightened standard of

the First Amendment, the court further concludes that,

to recover from SPLC, Coral Ridge must show that what

SPLC said about it was provable as false and false, and

was said with actual malice.               For the reasons given

above, in the discussion of Coral Ridge’s defamation

claim, Coral Ridge’s complaint fails to assert adequate

allegations to this effect.

      Nevertheless, Coral Ridge argues that public debate

on gay rights is not the sole concern presented here.

It contends that SPLC also uses the Hate Map and “hate

group” designations to promote Hate-Map-related “goods

and    services”--its       reports,      trainings,       and    other

informational     services--and,        indeed,     argues    that       it

makes money from the sale of those “goods and services”

as a result of its “hate group” designations.                 However,



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SPLC,   like      a    magazine    or    a    newspaper,      is   in   the

business of communicating information and viewpoints on

issues of public concern and debate.                   “[M]agazines and

newspapers often have commercial purposes, but those

purposes do not convert the individual articles within

these editorial sources into commercial speech subject

to Lanham Act liability. See Farah v. Esquire Magazine,

736 F.3d 528, 541 (D.C. Cir. 2013) (holding that a

satirical article about a book in a magazine’s online

blog was not commercial speech subject to Lanham Act

liability    even       though    ‘writers     write    and    publishers

publish     ...       for   commercial       purposes’);      Hoffman    v.

Capital Cities/ABC, Inc., 255 F.3d 1180, 1186 (9th Cir.

2001) (‘A printed article meant to draw attention to

the for-profit magazine in which it appears, however,

does not fall outside of the protection of the First

Amendment    because        it   may    help    to   sell     copies.’).”

Edward Lewis Tobinick, MD v. Novella, 848 F.3d 935, 952

(11th Cir. 2017).           See also Burstyn v. Wilson, 343 U.S.

495, 501 (1952) (“That books, newspapers, and magazines



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are published and sold for profit does not prevent them

from    being     a    form     of    expression           whose    liberty    is

safeguarded by the First Amendment.”).                           The fact that

SPLC may, as alleged, earn money in connection with

these communicative activities on an issue of public

concern    does       not    reduce        the    protection        it   receives

under the First Amendment, and does not convert its

speech into the basis for a viable Lanham Act claim.

Likewise, the fact that the Hate Map may be used to

attract    attention          to     and    increase        sales    of    SPLC’s

Hate-Map-related            trainings       and    informational         services

does not convert the Map and “hate group” designations

into purely commercial speech subject to a lower level

of constitutional protection.                     See Hoffman, 255 F.3d at

1186.

       Similarly, the allegation that SPLC may use the

Hate Map and “hate group” designations in fundraising

does not mean that it should receive a lesser level of

First    Amendment          protection.            As   the      Supreme    Court

explained       in    Virginia        State        Board    of     Pharmacy    v.



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Virginia      Citizens     Consumer      Council,      Inc.,    where      it

struck     down     a   restriction       on    the     advertising        of

prescription drug prices: “Speech ... is protected ...

even though it may involve a solicitation to purchase

or otherwise pay or contribute money.”                      425 U.S. 748,

761     (1976).          Furthermore,          in     cases     involving

fundraising by charitable organizations, the court has

treated that speech as deserving of the highest level

of protection, based on “the reality that solicitation

is characteristically intertwined with informative and

perhaps     persuasive     speech       ...,   and    ...   that   without

solicitation the flow of such information and advocacy

would likely cease.”            Riley v. Nat'l Fed'n of the Blind

of N. Carolina, Inc., 487 U.S. 781, 796 (1988); see

also Sec’y of State of Md. v. Joseph H. Munson Co., 467

U.S. 947 (1984); Village of Schaumburg v. Citizens for

a   Better     Env’t,     444    U.S.    620    (1980).        Thus,    the

allegations about the use of Hate Map in fundraising do

not reduce the constitutional protections for SPLC’s

speech.



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       Finally, the legislative history of the Lanham Act

is consistent with the court’s conclusion. When the Act

was revised in 1989, requirements were added that false

advertising         occur     in     the       context          of        “commercial

advertising         and     promotion,”            and    that        a     false    or

misleading       description        or     representation              be    one    “of

fact.”      5 McCarthy on Trademarks and Unfair Competition

§ 27:96      (5th    ed.).         With       regard      to     these       changes,

Representative Kastenmeier, who carried the bill in the

House of Representatives, explained that both additions

were drafted in order to avoid conflicts with the First

Amendment.         See Remarks of Rep. Kastenmeier on S. 1883,

134     Cong.      Rec.   31851      (Oct.         19,        1988)       (“To   avoid

legitimate constitutional challenge, it was necessary

to     carefully      limit     the       reach          of    the        subsection.

Because section 43(a) will now [sic.] provide a kind of

commercial defamation action, the reach of the section

specifically        extends        only       to     false       and       misleading

speech      that     is   encompassed              within       the       "commercial

speech" doctrine developed by the United States Supreme



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Court. See, e.g., Central Hudson Gas & Electric Corp.

v. Public Service Comm’n of N.Y., 447 U.S. 557 (1980);

Va. State Bd. of Pharmacy v. Va. Citizens Consumers

Council,       Inc.,     425       U.S.    748     (1976).     In    addition,

subsection (a) will extend only to false and misleading

statements of fact. Gertz v. Robert Welch, Inc., 418

U.S. 323, 339–40 (1974).” (emphasis in original)).

       Although        the        above        legislative      history       is

admittedly sparse, a leading commentator has observed

that the added “fact” requirement appears to have been

“a     conscious      and     intentional         limitation        imposed   by

Congress to exclude from the prohibitions of § 43(a)

allegedly        false       or     misleading       representations          of

opinion”       in     light       of      the    Gertz   decision,        which

indicated        that        the       First       Amendment        prohibited

defamation          liability       for        statements    of      opinion.21




    21. As stated earlier, see supra n. 16, the Supreme
Court later clarified its view that the proper test for
First Amendment purposes is not whether an allegedly
false statement is of “fact” or “opinion,” but whether
it is provably false. See Milkovich v. Lorain Journal
Co., 497 U.S. 1, 20 (1990).

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5 McCarthy on Trademarks and Unfair Competition § 27:96

(emphasis in original); see Gertz, 418 U.S. at 339-40.

       As   for       the     added        requirement          of     “commercial

advertising          or    promotion,”          Representative         Kastenmeier

offered     more       explanation,         quoting       at    length      a    noted

trademark         commentator,             who        explained        that        the

"advertising          or    promotion"          requirement      would        exclude

statements raising free speech concerns from coverage

of the Act.            Remarks of Rep. Kastenmeier on S. 1883,

134 Cong. Rec. 31852 (Oct. 19, 1988).                                He explained

that     the     categories          of     speech        excluded       from      the

coverage of the Act “are the type which raise free

speech      concerns,         such    as        a    Consumer        Report     which

reviews        and     may    disparage             the   quality      of       stereo

speakers or other products, misrepresentations made by

interested           groups    which        may       arguably       disparage       a

company     and       its     products       because       of    the     company's

failure     to       divest    its        South      African     holdings,         and

disparaging statements made by commentators concerning

corporate product liability and injuries to the public



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(e.g., A.H. Robins and the Dalkon shield cases, or the

Manville      Corporation        asbestos     cases).      All    of   these

would be judged by first amendment law (including New

York Times v. Sullivan) and not section 43(a) law ...

.” Id.       See also id. (“As Mr. Gilson correctly notes,

the proposed change in section 43(a) should not be read

in    any    way    to    limit    political     speech,    consumer        or

editorial          comment,       parodies,     satires,         or    other

constitutionally protected material.... The section is

narrowly drafted to encompass only clearly false and

misleading commercial speech.”).

       While not conclusive, this legislative history is

consistent         with   this    court’s     analysis:     it    suggests

Congress       anticipated        that    a    conflict     would      arise

between the First Amendment and the Lanham Act if it

were applied to speech on matters of public concern,

and that, were a claim brought under the Lanham Act for

such speech, the claim would be subject to the standard

set forth in New York Times v. Sullivan, not those of

the Lanham Act.



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                   2. Application of the Lanham Act

       Constitutional          concerns       aside,       Coral      Ridge     has

failed       to   plausibly      plead       its    false-association           and

false-advertising claims.               The court will first address

the false-advertising claim, and will then turn to the

false-association claim.



                      a. False-Advertising Claim

       Section 1125(a)(1)(B) establishes a cause of action

for     false     advertising         against      any     person      or    entity

“who, on or in connection with any goods or services,

... uses in commerce             ... any           ... false or misleading

description          of       fact,      or        false       or     misleading

representation           of   fact,     which            ...    in    commercial

advertising         or    promotion,      misrepresents              the    nature,

characteristics, qualities, or geographic origin of his

or     her    or     another      person’s          goods,      services,        or

commercial activities.” 15 U.S.C. § 1125(a)(1)(B); see

also Suntree Techs., Inc. v. Ecosense Int'l, Inc., 693



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F.3d 1338, 1348 (11th Cir. 2012).               Even if for purposes

of this discussion Coral Ridge has sufficiently alleged

that    SPLC    made        its   “hate     group”    designation        in

connection     with     goods      and    services,    Coral   Ridge’s

false-advertising claim must nevertheless be dismissed

because it has not plausibly pled that the “hate group”

designation     was     a    description       or   representation       of

fact, and or that that it made the challenged statement

in “commercial advertising and promotion.”

       As discussed above, prior to the 1989 revision,

Section 43(a) of the Lanham Act applied to false or

misleading     “representations”          or   “descriptions.”       The

1989    revision       added      the     clarification    that     such

representations or descriptions must be “of fact.”                       As

discussed above, Congress apparently added this phrase

to ensure that liability would not be imposed under the

Lanham Act for statements of opinion, which the Supreme

Court in Gertz suggested were protected from liability

under the First Amendment.                 See Gertz, 418 U.S. at

339-40 (“Under the First Amendment there is no such



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thing as a false idea. However pernicious an opinion

may     seem,     we     depend    for    its    correction         not      on   the

conscience of judges and juries but on the competition

of other ideas.”).                The Supreme Court later clarified

its view that the proper test under the First Amendment

is    not    whether       an     allegedly     false       statement        is    of

“fact”      or     “opinion,”       but       whether       it     is   “provably

false.” See Milkovich v. Lorain Journal Co., 497 U.S.

1, 20 (1990).22

       In support of its false-advertising claim, Coral

Ridge alleges in the complaint that SPLC misrepresented

the     nature,        characteristics,         and        quality      of    Coral

Ridge’s          goods      and      services         by         labelling        the

organization a ‘hate group.’                   For the reasons discussed

in    the   defamation          section,      the   designation         of    Coral

Ridge as a “hate group” is not provable as false; there

is no commonly accepted definition of the term “hate

group.” Thus, the representation or description that



    22. As discussed earlier, see supra n. 16, this
distinction appears largely semantic, because opinions
are not provable as false.

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Coral Ridge challenges is not one “of fact,” and the

false-advertising claim must be dismissed.

    Coral Ridge’s claim also must be dismissed because

it has not plausibly pleaded that SPLC used the hate

group     designation      in     “commercial        advertising          or

promotion.”       15 U.S.C. § 1125(a)(1)(B).               The test for

“commercial      advertising        or       promotion”      is:        “(1)

commercial      speech;    (2)    by     a   defendant     who     is     in

commercial      competition      with    plaintiff;       (3)    for     the

purpose    of   influencing      consumers      to   buy    defendant’s

goods or services; and (4) the representations ... must

be disseminated sufficiently to the relevant purchasing

public    to    constitute       ‘advertising’       or     ‘promotion’

within that industry.”23         Edward Lewis Tobinick, MD, 848



    23. It is unclear whether the second part of the
test for “commercial advertising or promotion”--that
the speech must have been “by a defendant who is in
commercial competition with [the] plaintiff”, Edward
Lewis Tobinick, MD, 848 F.3d at 950--is still good law
after the Supreme Court’s decision in Lexmark Int'l,
Inc. v. Static Control Components, Inc., 572 U.S. 118
(2014).   There, in determining the requirements for
statutory standing under 15 U.S.C. § 1125(a)(2), the
Court explained “when a party claims reputational
injury from disparagement, competition is not required

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F.3d at 950 (quoting Suntree Techs., Inc. v. Ecosense

Int’l,     Inc.,    693    F.3d   1338,    1349     (11th    Cir.    2012)

(quoting Gordon & Breach Sci. Publishers S.A. v. Am.

Inst. of Physics, 859 F. Supp. 1521, 1535–36 (S.D.N.Y.

1994) (Sand., J.))).



                          i. Commercial Speech

      With the facts alleged in the complaint considered

in the light most favorable to the plaintiff, SPLC’s

use of the Hate Map does not constitute ‘commercial

speech.’

      To   assess    whether      Coral    Ridge    has     sufficiently

alleged    that     SPLC    engaged   in   commercial       speech,    the

court looks to the First Amendment commercial speech

doctrine.     See Edward Lewis Tobinick, MD, 848 F.3d at

950    (applying       First      Amendment        commercial       speech

jurisprudence to determine whether plaintiff met the



for proximate cause.”      Id. at 138.     Because the
allegations of the complaint do not establish the other
factors in the four-part test, the court need not
resolve the continuing validity of the second part of
the test, and does not apply it here.

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‘commercial speech’ element of commercial advertising

or promotion under § 1125(a)(1)(B)).24

       Under    the   commercial       speech        doctrine,    commercial

speech       receives      a    lower        level     of     constitutional

protection than do other forms of speech more central

to     the    concerns     of    the    First        Amendment,     such    as

expressive,        scientific,         and     political       speech,     and

speech on matters of public concern.                        See Cent. Hudson

Gas & Elec. Corp. v. Pub. Serv. Comm'n of N.Y., 447

U.S. 557, 562–63 (1980).               The      “core          notion”      of


     24. This is so for two reasons.           First, as
discussed earlier, seeking to avoid conflict with the
First Amendment, Congress reportedly drafted § 1125(a)
“to extend only to false and misleading speech that is
encompassed within the ‘commercial speech’ doctrine
developed by the United States Supreme Court.” Gordon
& Breach Sci. Publishers S.A., 859 F. Supp. at 1536.
Second, under the doctrine of constitutional avoidance,
the Lanham Act should be read in a way that avoids
conflict with the First Amendment. See Clark v.
Martinez, 543 U.S. 371, 380-81 (2005) (“In other words,
when   deciding   which   of  two   plausible   statutory
constructions to adopt, a court must consider the
necessary consequences of its choice. If one of them
would raise a multitude of constitutional problems, the
other should prevail.”). If the Lanham Act were read to
impose   civil   liability   for   noncommercial   speech
receiving    the   highest   level    of   constitutional
protection under the First Amendment, it would likely
be unconstitutional.

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commercial    speech      is   speech    proposing     a   commercial

transaction,       such   as   a   run-of-the-mill     advertisement

for a product or service.            Bolger v. Young Drug Prods.

Corp., 463 U.S. 60, 66 (1983) (quoting Va. State Bd. of

Pharmacy v. Va. Citizens Consumer Council, Inc., 425

U.S., at 762, quoting Pittsburgh Press Co. v. Human

Relations Comm'n, 413 U.S. 376, 385 (1973)).                  See also

City of Cincinnati v. Discovery Network, Inc., 507 U.S.

410, 423 (1993) (citing Bd. of Trustees of State Univ.

of N.Y. v. Fox, 492 U.S. 469, 473-74 (1989)) (referring

to speech that “propose[s] a commercial transaction” as

“the test for identifying commercial speech”) (italics

added and citations omitted)).             The Supreme Court has

also defined commercial speech as “‘expression related

solely to the economic interests of the speaker and its

audience.’”     Edward Lewis Tobinick, MD, 848 F.3d at 950

(quoting Cent. Hudson Gas & Elec. Corp., 447 U.S. at

561).

      SPLC’s Hate Map and “hate group” designations do

not   meet   the    definition      of   commercial     speech    under



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either of these tests.             Based on the allegations in the

complaint, neither the Hate Map nor the “hate group”

designations       propose     a    commercial          transaction.          Nor

does the complaint plausibly allege that SPLC’s Hate

Map and its “hate group” designations are “expression

related solely to the economic interest of the speaker

and its audience.”         While describing SPLC’s Hate Map as

a   “fundraising      tool,”       the   complaint         does    not   allege

that     SPLC’s     interest       in        the    Hate    Map    is    solely

economic.       On the contrary, the complaint alleges that

SPLC wants to shut “hate groups” down.                        Nor does the

Hate Map constitute expression related solely to the

economic interests of SPLC’s audience.                        As alleged in

the complaint, the audience for the Hate Map includes

government agencies that seek information about “hate

groups;”     presumably      these       agencies’         interest      in   the

Hate Map is not solely or even primarily economic, but

instead       is     an      interest              in   law       enforcement.

Furthermore, the complaint alleges that SPLC has placed

the Hate Map on its public website, where the audience



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presumably includes individuals who are concerned about

or     interested       in      “hate     groups”    for     non-economic

reasons.        Thus, the Hate Map does not constitute core

commercial speech.

       Coral    Ridge    argues    that      the   Hate    Map    and   “hate

group” designations are commercial speech because (1)

they are used to promote SPLC’s ‘goods and services’;

and (2) because SPLC uses the Hate Map and related

designations as a tool in fundraising appeals, and has

raised millions of dollars as a result.                    Based on these

allegations, the court will assume that SPLC’s Hate Map

has an economic element.                But that does not resolve the

issue.

       In looking at speech advancing a mix of economic

and     other    important       societal     interests,     the    Supreme

Court’s      approach     has    varied      based   on    “the   essential

nature of the speech in question.”                        Gordon & Breach

Sci. Publishers S.A., 859 F. Supp. at 1540.                       In Bolger

v. Youngs Drug Prod. Corp., the defendant contraceptive

company         mailed       informational           pamphlets          about



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contraceptives        and       venereal          disease           directly       to

consumers;    these       pamphlets         mentioned         the    defendant’s

products while discussing the broader issues.                             463 U.S.

60 (1983).         The defendant company conceded that the

pamphlets    were    advertisements               for   its    products,          but

argued that the pamphlets were nonetheless entitled to

the   highest      level        of     protection         under       the       First

Amendment    because        they      addressed         the    public         debate

about contraception.            However, the Court held that the

pamphlets          were         commercial              speech,               because

“[a]dvertisers       should          not    be    permitted         to    immunize

false or misleading product information from government

regulation    simply       by    including         references            to   public

issues.”     Id. at 68.

      In contrast, in a series of cases, the Court has

applied the highest level of First Amendment protection

to charitable fundraising, because such solicitations

are ordinarily intertwined with speech on matters of

public concern.           In Village of Schaumburg v. Citizens

for   a   Better    Environment,            444    U.S.    620       (1980),      the



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Court       invalidated          a      local      ordinance            prohibiting

door-to-door           solicitation               of      contributions              by

charitable       organizations             that    do    not     use     a    certain

percentage of their receipts for charitable, as opposed

to administrative, purposes.                      The municipality argued

that     the    law     did      not    violate         the    First      Amendment

because such charitable solicitation constitutes merely

commercial speech.               The Court rejected this argument,

finding that solicitations “involve a variety of speech

interests ... that are within the protection of the

First     Amendment,”         and      therefore        have    not     been      dealt

with      as   “purely        commercial          speech.”        Id.        at    632.

Because        the         ordinance            would         potentially           ban

solicitation          by    “organizations              that      are     primarily

engaged in research, advocacy, or public education and

that     use    their      own      paid    staff       to     carry     out      these

functions as well as to solicit financial support,” id.

at    636-637,     the     Court       applied         exacting    scrutiny         and

struck down the ordinance as overbroad.                           See id. at 637

(noting that the statute must be “narrowly drawn” to



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serve   village’s     interests      and   cannot     “unnecessarily

interfer[e] with First Amendment freedoms”).                  See also

Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S.

947 (1984) (applying exacting First Amendment scrutiny

in striking down a statute regulating fundraising by

charitable organizations because it was not narrowly

tailored to advance the municipality’s interests); id.

at 967, and n. 16 (referring to “the law as ‘a direct

restriction on the amount of money a charity can spend

on fundraising activity,” and “a direct restriction on

protected First Amendment activity”).

    The    Court    again     struck     down    a   law   regulating

solicitation by charitable organizations in Riley v.

Nat'l Fed'n of the Blind of N. Carolina, Inc., 487 U.S.

781, 796 (1988).        The law at issue defined reasonable

fees for professional fundraisers, prohibited them from

soliciting    without     a   license,     and   required     them       to

disclose the amount they turned over to charities in

the previous year.       There, the Court again rejected the

idea that charitable solicitations--even when conducted



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by a professional fundraiser--should be subjected to a

reduced level of scrutiny as commercial speech.                           The

Court reasoned that “solicitation is characteristically

intertwined      with   informative       and     perhaps       persuasive

speech ..., and ... that without solicitation the flow

of such information and advocacy would likely cease.”

Id.   at   796    (quoting     Munson,      467    U.S.        at   959–960

(quoting Schaumburg, 444 U.S. at 632).                  The Court held

that arguably commercial speech does not “retain[] its

commercial       character       when      it      is      inextricably

intertwined with otherwise fully protected speech. ...

Where ... the component parts of a single speech are

inextricably      intertwined,      we    cannot     parcel         out   the

speech, applying one test to one phrase and another

test to another phrase. Such an endeavor would be both

artificial    and   impractical.         Therefore,       we    apply     our

test for fully protected expression.”               Id.

      The speech alleged in this case is clearly more

akin to the speech deemed fully protected expression in

the charitable fundraising cases than to the disguised



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commercial advertising by a pharmaceutical company at

issue in Bolger.            Although the alleged fundraising and

fee   generating          aspects      of    SPLC’s    use     of    the   “hate

group” designations reflect economic interests, based

on the allegations of the complaint, this economically

motivated     speech        is    “inextricably         intertwined”        with

informative and persuasive speech on matters of public

concern,       and    therefore         is    entitled       to    the   highest

level of protection under the First Amendment, not the

lower      level     of     protection        assigned        to     commercial

speech.

      In   addition        to    its   alleged    use     in       fundraising,

Coral Ridge alleges that SPLC uses the Hate Map to

promote its trainings, for which Coral Ridge alleges

government agencies pay a fee, and that SPLC has sold

the Hate Map and associated “hate group” designations

to AmazonSmile and Guidestar USA.                     This does not change

the court’s conclusion that SPLC’s use of the Hate Map

and “hate group” designation is not commercial speech.

Assuming     the     truth        of    the    allegations          that    SPLC



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generates fees from trainings and has sold the contents

of the Hate Map to other organizations, SPLC’s receipt

of fees does not convert the Hate Map into commercial

speech under the Lanham Act. “The fact that expressive

materials       are    sold     does   not    diminish        the   degree      of

protection to which they are entitled under the First

Amendment.”           ETW Corp. v. Jireh Pub., Inc., 332 F.3d

915, 924–25 (6th Cir. 2003) (citing City of Lakewood v.

Plain      Dealer      Publ'g    Co.,       486   U.S.    750,      756   n.     5

(1988)).         In    this     sense,      the   SPLC   Hate       Map   is    no

different than an article in a magazine or newspaper,

or    a   product      review     in     Consumer     Reports.       As   noted

earlier,        “magazines         and       newspapers         often      have

commercial purposes, but those purposes do not convert

the individual articles within these editorial sources

into       commercial         speech        subject      to     Lanham         Act

liability.” Edward Lewis Tobinick, MD, 848 F.3d at 952

(citing Farah v. Esquire Magazine, 736 F.3d 528, 541

(D.C. Cir. 2013); Hoffman v. Capital Cities/ABC, Inc.,

255 F.3d 1180, 1186 (9th Cir. 2001)).                    Furthermore, the



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fact that SPLC has used the Hate Map to promote its

Hate-Map-based         trainings       and     informational       services

does      not   convert       it   into     commercial    speech.        See

Hoffman, 255 F.3d at 1186.                   The allegation that SPLC

generates fees from trainings of government agencies

based on the contents of the Hate Map and the fact that

organizations may have paid for the content does not

convert the Map into commercial speech.



ii. Speech for the purpose of influencing consumers to
           buy defendant’s goods or services

       The third requirement of “commercial advertising or

promotion”        is   showing       the    defendant    engaged    in   the

challenged        speech      with    “the    purpose    of    influencing

consumers       to     buy    defendant’s       goods     or   services.”

Edward Lewis Tobinick, MD, 848 F.3d at 950.                           Coral

Ridge has failed to plausibly plead this element of the

test.

       The allegations of the amended complaint do not

support Coral Ridge’s argument that SPLC designated it

as    a   “hate      group”    with    the    purpose    of    influencing


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consumers to buy SPLC’s produce.            The amended complaint

clearly alleges that SPLC’s “very purpose for placing

the Ministry on the Hate Map was to harm the reputation

of the Ministry as to lower it in the estimation of the

community and to deter third persons from associating

or dealing with the Ministry. Specifically, SPLC was

attempting to dissuade people and organizations from

donating to the Ministry and to ultimately destroy the

Ministry.”     Am. Compl. (doc. no. 40) at ¶ 95; see also

id. at ¶¶ 79, 106 (alleging that “SPLC” has publicly

stated that its aim is to destroy those organizations

it labels at “hate groups”).

    In the Lanham Act section of the complaint, Coral

Ridge changes this allegation somewhat by stating that

“SPLC’s purpose in placing the Ministry’s trademark ...

on its Hate Map and in SPLC’s hate group-based goods

and services is to influence the relevant consumers to

buy SPLC’s goods and services, in advancement of SPLC’s

publicly stated goal of destroying the Ministry and the

other organizations that SPLC has placed on its Hate



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Map.” Id. at ¶ 139 (emphasis added).                     The allegation

that SPLC placed Coral Ridge’s trademark on the Hate

Map “to influence the relevant consumers to buy SPLC’s

goods    and    services”      does    nothing    more    than    state    a

legal    conclusion      and     an   element     of    the    Lanham    Act

claim;    the    court    will        not   credit      this   conclusory

allegation without supporting facts.                   In addition, the

allegation      makes    clear    that      SPLC’s     ultimate   goal    is

destroying      those     it     considers       “hate     groups,”      not

commercial gain.         In the next sentence of the amended

complaint, Coral Ridge goes on to explain the basis for

that statement:

    “SPLC uses the Hate Map and hate group based
    designations to promote its goods and services,
    include [sic] ‘investigative reports,’ training
    programs (used by U.S. law enforcement ... and
    private organizations), ‘key intelligence,’ and
    ‘expert’ analysis.    Through promotion of the
    Hate Map and hate group designations, the
    groups listed on the Map becomes an object of
    scorn and disdain for SPLC’s audience, which
    includes    individuals     and    organizations
    interested in charitable giving.     Through the
    use   of   the   Hate   Map   and   hate   group
    designations, SPLC focuses attention on these
    groups to convince its audience that these
    groups must be destroyed.     SPLC then markets
    its Hate Map-infused produces to this audience


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       for the purpose of further marginalizing and
       isolating the listed ‘hate groups,’ potentially
       leading to the destruction of the listed
       organizations,   ... which is SPLC’s ultimate
       goal.”

Id.     at   ¶    140.         With    the      initial      allegation      taken

together with the explanatory paragraph that follows,

the clear import is that SPLC’s goal in designating

Coral Ridge as a “hate group” is shutting it down--not

selling goods and services to relevant consumers.



                          iii. Dissemination to the
                         Relevant Purchasing Public

       The       final        part    of     the      test       is   that    “the

representations ... must be disseminated sufficiently

to     the       relevant       purchasing         public        to    constitute

‘advertising’            or    ‘promotion’         within     that     industry.”

Edward       Lewis    Tobinick,        MD,      848    F.3d      at   950.     The

allegations          of       the    complaint        are     insufficient      to

establish this element of commercial advertising and

promotion.

       Applying      this       factor,      “breadth       of    dissemination,

although important, is not dispositive.                               Rather, the


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primary      focus         is        the         degree      to         which    the

representations in question explicitly target relevant

consumers.”        Gordon and Breach Sci. Publishers. S.A. v.

Am. Inst. of Physics, 905 F. Supp. 169, 182 (S.D.N.Y.

1995).To    apply     this          test    to    the      allegations      of   the

complaint,    the     court         must     first      define     the     relevant

purchasing public and industry.                         Coral Ridge attempts

to define the “relevant purchasing public” as “those

people      and     those           organizations           that        engage    in

charitable        giving       to    tax-exempt         organizations.”          Am.

Compl. (doc. no. 40) at ¶ 142; Pl.’s Resp. to SPLC’s

Mot.   to   Dismiss        (doc.      no.       51)   at    44.     As     for   the

relevant industry, Coral Ridge takes issue with SPLC’s

argument     that        the    relevant           industry        is     Christian

television ministries, arguing that it also engages in

“publishing        and     other           activities        related       to    its

mission,” Pl.’s Resp. to SPLC’s Mot. to Dismiss (doc.

no. 51) at 44, but it does not specify its industry.

Instead,     it    implies          that     the      relevant      industry      is




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comprised         of     tax    exempt    organizations.              See    id.    at

43-44.

       If    the       relevant    purchasing       public         and      industry

could be defined at such a high level of generality,

the test would be meaningless.                    The world of non-profit

organizations is almost, if not just, as varied as the

world       of     for-profit       organizations:            it   ranges       from

publishers          of     scientific          journals,      to      health-care

providers, to vocational-training providers, religious

organizations, atheist organizations, and organizations

that    promote          the    arts.     It     would   make      no    sense      to

consider the relevant purchasing public for all these

organizations to be the same simply because they are

all non-profits, just as it would make no sense to

consider the relevant purchasing public the same for a

subway-car manufacturer and a health-food store simply

because they are both for-profit organizations.                                While

there       may    be     some    minor    overlap       in     the     purchasing

public for each, that makes little difference to the

determination              of     “the         degree      to         which        the



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representations in question explicitly target relevant

consumers.”        Gordon and Breach Sci. Publishers, 905 F.

Supp. at 182.

    Based     on    the   allegations     of   the   complaint,      the

court considers Coral Ridge’s industry to be Christian

television and media.          While Coral Ridge has alleged

that SPLC has broadly disseminated the Hate Map through

its website, fundraising efforts, and promotion of its

training    for     government     agencies,      Coral    Ridge     has

failed to allege any specific facts showing that SPLC

has disseminated its Hate Map, and more specifically,

its designation of D. James Kennedy Ministries as a

“hate group,” within the relevant purchasing public for

Christian television and media.25                Nor is there any




    25. It bears noting that Coral Ridge has not
alleged a decline in sales or donations that could
suggest  dissemination   to  the   relevant  purchasing
public. See Lexmark Int’l, Inc., 572 U.S. at 133 (“[A]
plaintiff suing under § 1125(a) ordinarily must show
economic or reputational injury flowing directly from
the deception wrought by the defendant's advertising;
and that that occurs when deception of consumers causes
them to withhold trade from the plaintiff.”) (emphasis
added). However, as § 1125(a) authorizes relief for

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allegation that the dissemination of the “hate group”

designation “explicitly target[s] relevant consumers.”

Gordon and Breach Sci. Publishers S.A., 905 F. Supp. at

182.    Based on the allegations, it appears that some of

Coral Ridge’s target consumers may incidentally come

across the Hate Map and “hate group” designation, but

there     is     no    indication          that     SPLC’s     methods       of

dissemination          are     targeted       towards        consumers       of

Christian television and media.                     As a result, Coral

Ridge has failed to plead that SPLC used the Hate Map

and “hate group” designation in commercial advertising

and promotion.

       Because    it    failed       to    allege    that    SPLC    made     a

representation         or    description      of    “fact”    and   that     it

made such a statement in “commercial advertising and

promotion,”      Coral       Ridge   has    not     plausibly     pled     that

SPLC a viable claim for false advertising under the

Lanham Act.




solely anticipated injury, the lack                          of     such     an
allegation is not fatal to its claim.

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                    b. False-Association Claim

    Coral     Ridge       also       brings       a     claim    for      false

association pursuant to 15 U.S.C. § 1125(a)(1)(A).                            In

connection with this claim, Coral Ridge alleges that

SPLC published its trademarked name, “D. James Kennedy

Ministries,”      on    the   Hate     Map,   designating         it    as    an

Anti-LGBT    hate      group,”      and    that       SPLC   published      this

“hate group” designation on its website, in fundraising

materials, and in its reports, trainings, informational

materials, intelligence, and analysis.                        Am. Compl. at

¶¶ 117, 121.      Coral Ridge argues that SPLC’s use of its

trademark    on     the      Hate    Map    falsely          associates      its

trademark    “with      the   Neo-Nazi’s,         skin       heads,   and    the

other actual terrorist organizations that are listed on

the map.”     Pl.’s Resp. to SPLC’s Mot. to Dismiss (doc.

no. 51) at 50-51.             For the reasons discussed below,

this claim must be dismissed.

    To   prevail        on    a     false-association           claim     under

§ 1125(a)(1)(A), a plaintiff must establish that the

defendant, “in connection with goods and services                            ...



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used    in   commerce      any    word,        term,   name,       symbol,    or

device,      or     any   combination          thereof,      or    any    false

designation of origin, false or misleading description

of fact, or false or misleading representation of fact,

which     ... is likely to cause confusion, or to cause

mistake,       or    to    deceive        as     to    the        affiliation,

connection, or association of such person with another

person, or as to the origin, sponsorship, or approval

of his or her goods, services, or commercial activities

by another person.”              15 U.S.C. § 1125(a)(1)(A).                  The

court assumes for the purposes of discussion that Coral

Ridge    has      adequately     pleaded        that   SPLC        used   Coral

Ridge’s trademark in commerce in connection with goods

and services.

       To survive the motion to dismiss, Coral Ridge must

plausibly plead that the use of its trademark created a

“likelihood of confusion” in consumers.26                     As          noted



    26. In the ordinary false-association case, in
which in the plaintiff contends that the defendant used
plaintiff’s trademark to sell its own products, courts
apply a multi-factor test to determine the likelihood
of confusion, which weighs factors such as the

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above, Coral Ridge contends that, by designating its

trademarked name as a “hate group” on the Hate Map,

SPLC created a likelihood of confusion in the public as

to Coral Ridge’s “association” with the other groups

listed on the Map.          Thus, the court begins its analysis

by determining the meaning of the phrase “likelihood of

confusion as to the         ... association” in the statute.

    As    discussed        at    length    above,    SPLC     used      Coral

Ridge’s        trademark        to   criticize       its      stance       on

homosexuality; by doing so, it engaged in speech on a

matter    of    public     concern--a      core     focusof      the    First

Amendment’s       protections.            The   Lanham     Act     must    be

construed       narrowly        to   avoid      impinging     on       speech

protected by the First Amendment.                 Univ. of Alabama Bd.

of Trustees v. New Life Art, Inc., 683 F.3d 1266, 1277

(11th Cir. 2012).           As a result, courts applying the



similarity of the plaintiff’s mark and the mark used by
the defendant.    See Conagra, Inc. v. Singleton, 743
F.2d 1508, 1514 (11th Cir. 1984). Because there is no
allegation here that SPLC used Coral Ridge’s trademark
in an effort to pass its goods and services off as
those of Coral Ridge, this test is of little
assistance.

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Lanham Act must carefully “weigh the public interest in

free expression against the public interest in avoiding

consumer confusion.”             Id. (quoting Cliffs Notes, Inc.

v. Bantam Doubleday Dell Pub. Grp., Inc., 886 F.2d 490,

494     (2d    Cir.      1989)   (internal      quotations      omitted).

Ordinary applications of trademark law--such as where a

seller uses another’s trademark to trick consumers into

buying his own goods--do not risk the suppression of

highly protected speech.              However, when trademark law

is     used     “to      obstruct     the    conveyance       of    ideas,

criticism, comparison, and social commentary,” the risk

of such suppression is great.               Radiance Found., Inc. v.

N.A.A.C.P.,        786    F.3d   316,     321–22    (4th    Cir.    2015).

Conflict with the First Amendment is avoided “so long

as [interpretation of] the Act hews faithfully to the

purposes for which it was enacted.”                Id. at 322 (citing

Mattel, Inc. v. MCA Records, Inc., 296 F.3d 894, 900

(9th Cir. 2002)).

       The trademark protections in § 1125(a) “exist to

protect consumers from confusion in the marketplace.”



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Radiance       Found.,        786    F.3d        316       at    321.      “Trademark

infringement laws limit the ability of others to use

trademarks or their colorable imitations in commerce,

so     that    consumers          may      rely       on    the    marks       to    make

purchasing decisions.”                    Id.     Congress “did not intend

for     trademark        laws       to    impinge          the    First       Amendment

rights        of    critics         and     commentators.”              Id.     at    321

(quoting Lamparello v. Falwell, 420 F.3d 309, 313 (4th

Cir.     2005)).             Furthermore,         § 1125(a)(1)(A)              “is    not

designed           to   protect           mark        holders       from      consumer

confusion about their positions on political or social

issues.”           Radiance Found., 786 F.3d at 327. “Actual

confusion          as   to    a   non-profit's             mission,     tenets,       and

beliefs is commonplace, but that does not transform the

Lanham Act into an instrument for chilling or silencing

the speech of those who disagree with or misunderstand

a    mark     holder's        positions          or    views.”      Id.    at    327–28

(citing Rogers v. Grimaldi, 875 F.2d 994, 1001 (2d Cir.

1989)).




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       Mindful of these principles and purposes, the court

finds that § 1525(a)(1)(A)’s requirement of likelihood

of confusion as to the “association of a person with

another” means confusion as to whether the seller or

the trademark holder is associated with another person

or     organization        by    virtue       of    a   legal   or   other

relationship--not whether the trademark holder belongs

in the same category as, or might be associated in some

other vague sense with, another person or organization.

This reading is consistent with the intent of Congress:

It would cover the use of a trademark that falsely

insinuates that a seller has a relationship with the

trademark         holder        in    order        to   sell    products.

Furthermore, if “association” were defined to mean any

type of mental association between the trademark holder

and     another     person       or   organization,       its   potential

applications could be limitless and far afield of the

purpose of the Act.             For example, if “association” were

so broadly defined, a health food producer could sue

for false association because a supermarket advertised



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the health food company’s products next to those of a

company      that   produces     junk    food   on    the   theory    that

consumers might falsely “associate” the junk food with

the health food company’s trademark.                 Furthermore, such

a    broad    interpretation        of    “association”       could        be

applied to a wide range of protected speech, and would

allow     companies       to   shield      themselves       from     valid

criticism, while doing nothing to advance the purposes

of the Lanham Act.         See CPC Int'l, Inc. v. Skippy Inc.,

214 F.3d 456, 462 (4th Cir. 2000) (quoting New Kids on

the Block v. News Am. Publ'g, Inc., 971 F.2d 302, 307

(9th Cir. 1992)) (“‘Much useful social and commercial

discourse would be all but impossible if speakers were

under threat of an infringement lawsuit every time they

made reference to a person, company or product by using

its trademark.’”).

      Applying      the   proper   definition        of   “association,”

the court holds that Coral Ridge has not alleged a

likelihood of confusion as to its “association” with

the Ku Klux Klan and other criminal and violent hate



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groups.     Nothing in the complaint suggests that the

public is likely to be confused into believing, based

on SPLC’s use of Coral Ridge’s trademark on the Hate

Map and in its “hate group” designation, that Coral

Ridge has an actual relationship any other group on the

Map, let alone the criminal and violent ones.27

    In    sum,   Coral      Ridge    has    failed    to     allege   the

“likelihood      of        confusion”      requirement        for     its

false-association claim.         The claim must be dismissed.




                 C. Title II Discrimination Claim
                  Against the Amazon Defendants


    Coral Ridge claims that, by denying it access to

the AmazonSmile charitable-giving program, Amazon and

AmazonSmile        violated         the      ban      on      religious

discrimination in places of public accommodation that

is codified in Title II of the Civil Rights Act of

1964.      Title      II    provides:      “All    persons    shall      be


    27. For example, there are no allegations that SPLC
represents that the groups on the Map work with each
other.

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entitled to the full and equal enjoyment of the goods,

services,        facilities,          privileges,          advantages,          and

accommodations of any place of public accommodation, as

defined    in     this       section,       without       discrimination         or

segregation on the ground of race, color, religion, or

national origin.”            42 U.S.C. § 2000a(a).

    Applying the alleged facts to Title II, Coral Ridge

asserts that its theory of liability is as follows: the

Amazon defendants are places of public accommodation

subject to Title II.             See Am. Compl. (doc. no. 40) at

¶ 150.      One of the “service[s],” “privilege[s],” and

“advantage[s]” that the Amazon defendants provide as

places     of     public      accommodation          is      the    ability      to

receive    charitable         donations          through     the    AmazonSmile

program.         Id.    at    ¶¶ 14,       160.    The    Amazon      defendants

excluded        Coral    Ridge       from        accessing     that      service,

privilege,        and    advantage--that             is,     from       receiving

donations through the AmazonSmile program--because SPLC

classified       Coral       Ridge    as     a    “hate    group.”        Id.    at

¶¶ 23-24.         The    “hate       group”       designation      by    SPLC    is



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based on Coral Ridge “oppos[ing] homosexual conduct.”

Id.    at     ¶¶ 61,    154.      Coral    Ridge’s       opposition       to

homosexual conduct, in turn, is based on its religious

beliefs.      Id. at ¶ 155.

       In sum, Coral Ridge’s theory is that, by excluding

it from receiving charitable donations due to its “hate

group” designation--which SPLC based on Coral Ridge’s

religious opposition to homosexual conduct--the Amazon

defendants discriminated against Coral Ridge based on

its religion, in violation of Title II.

       To   prevail,     Coral     Ridge    must     overcome          three

successive hurdles.            First, it must plausibly allege

that    the    Amazon    defendants     operate    as     a    “place     of

public accommodation” within the meaning of Title II.

42 U.S.C. § 2000a(a).          Second, it must plausibly allege

that its exclusion from receiving donations through the

AmazonSmile       program        constituted       the        denial      of

“services,” “privileges,” or “advantages,” etc., of the

Amazon defendants as places of public accommodation.

Id.    Third, it must plausibly allege that the denial of



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such services, privileges, advantages, etc. amounted to

“discrimination ... on            the    ground       of ... religion.”

Id.

      As   explained     below,     Coral      Ridge’s       claim     fails.

Even if it were assumed that the Amazon defendants are

places     of   public   accommodation         subject       to    Title    II,

seeking to receive donations through the AmazonSmile

program does not qualify as a service, privilege, or

advantage,        etc.      protected          by      the         statute’s

anti-discrimination prohibition.                This is because the

Amazon     defendants     limit    the   ability       to    receive       such

donations       exclusively        to    26      U.S.C.           § 501(c)(3)

organizations and therefore do not make that ability

open to the public.           Moreover, an alternative ground

for dismissing the claim is that Coral Ridge has not

plausibly       alleged      that        the        Amazon         defendants

discriminated against it based on religion.




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                       1. Public Accommodation

     The parties dispute whether the Amazon defendants

are “place[s] of public accommodation” under Title II

and are thus subject to the statute’s requirements.                       42

U.S.C.    § 2000a(a)-(b).         Although     Title    II    does   not

define    a   “place   of    public     accommodation,”       it   lists

certain       establishments        that      qualify        as    such.

Specifically, § 2000a(b) provides that “[e]ach of the

following establishments which serves the public is a

place    of   public    accommodation ... if         its     operations

affect commerce ...":

     “(1)   [A]ny  inn,   hotel,   motel,    or   other
     establishment   which    provides    lodging    to
     transient guests, other than an establishment
     located within a building which contains not
     more than five rooms for rent or hire and which
     is actually occupied by the proprietor of such
     establishment as his residence;

     “(2) any restaurant, cafeteria, lunchroom,
     lunch counter, soda fountain, or other facility
     principally   engaged  in   selling  food   for
     consumption on the premises, including, but not
     limited to, any such facility located on the
     premises of any retail establishment; or any
     gasoline station;




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     “(3) any motion picture house, theater, concert
     hall, sports arena, stadium or other place of
     exhibition or entertainment; and

     “(4)   any    establishment   (A)(i)   which    is
     physically located within the premises of any
     establishment    otherwise   covered    by    this
     subsection, or (ii) within the premises of
     which is physically located any such covered
     establishment, and (B) which holds itself out
     as    serving     patrons   of    such     covered
     establishment.”

     The scope of what constitutes a place of public

accommodation “is to be liberally construed and broadly

read” with “open minds attuned to the clear and strong

purpose of” Title II.              Miller v. Amusement Enters.,

Inc.,   394    F.2d    342,       349    (5th   Cir.   1968).28      The

“overriding purpose” of Title II is to eliminate “the

daily      affront         and      humiliation         involved          in

discriminatory        denials       of     access      to   facilities

ostensibly    open    to    the    general      public.”    Daniel        v.

Paul, 395 U.S. 298, 307-08 (1969).




    28. In Bonner v. Prichard, 661 F.2d 1206, 1207
(11th Cir. 1981) (en banc), the Eleventh Circuit
adopted as binding precedent all the decisions of the
former Fifth Circuit Court of Appeals handed down prior
to the close of business on September 30, 1981.

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        The Amazon defendants contend that their websites

are     not      places    of    public       accommodation    within       the

meaning of Title II because the statute applies to only

physical facilities.             By contrast, Coral Ridge alleges

that      the     Amazon     defendants         are   places   of       public

accommodation because they fall under the category of

places      of    “exhibition      or    entertainment.”          42    U.S.C.

§ 2000a(b)(3).            Coral Ridge further points out that the

Amazon defendants are “encroaching on entire industries

in     which     brick     and   mortar       businesses   have     thrived,

including         businesses      traditionally        covered         by   the

provisions of Title II.”                 Am. Compl. (doc. no. 40) at

¶ 18.         Because Amazon has replaced traditional brick

and mortar establishments covered by Title II with a

primarily virtual, rather than physical, marketplace,

and because Amazon’s services are not entirely virtual,

but include physical stores and operations, Coral Ridge

argues        that   the     Amazon      defendants     should      also     be

covered by Title II.29



        29. Coral Ridge alternatively argues that, even if

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     Whether         internet-based           businesses--or   the     Amazon

defendants       in        particular--are        precluded    from     being

places of public accommodation under Title II is an

issue of first impression.                     It is a difficult one, at

that.     On the one hand, the statute’s use of the term

“place”    and        references         to     “facilit[ies],”      physical

structures,          and     “physically         located”   establishments

suggest that “places of public accommodation” might be

limited to “actual, physical places and structures.”

Noah v. AOL Time Warner, Inc., 261 F. Supp. 2d 532,

540-43    (E.D.       Va.    2003)      (Ellis,    J.)    (concluding      that

“AOL’s    chat       rooms    and       other    online   services    do    not

constitute       a    ‘place       of    public     accommodation’      under

Title II” because they do not “consist of, or have a

clear    connection          to,    actual       physical   facilities       or

structures”).          On the other hand, the need to construe

Title II broadly, in light of its purpose, see Daniel,


AmazonSmile is not considered a place of public
accommodation, the AmazonSmile program is still covered
as a “service,” “privilege,” and “advantage” of Amazon,
which is a place of public accommodation.     See Pl.’s
Resp. to Amazon Defs.’ Mot. to Dismiss (doc. no. 52) at
5-6.

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395 U.S. at 307, suggests that denying access to even

an entirely virtual marketplace based on a protected

characteristic might result in the “the daily affront

and humiliation” that the drafters of Title II sought

to prevent, id. at 307-308.

        Ultimately, the court need not resolve whether the

Amazon defendants are places of public accommodation

within      the    meaning     of    Title    II.      Even   if    it   were

assumed that, as Coral Ridge alleges, they are covered

by      the       statute      as    places      of     “exhibition          or

entertainment,” the Title II claim would still fail for

two independently sufficient reasons discussed below.



        2. Denial of Services, Privileges, or Advantages
        Assuming,        without     deciding,        that    the    Amazon

defendants         are   places      of   public    accommodation,        the

court turns next to the question whether Coral Ridge

plausibly alleges that it has been denied “the full and

equal      enjoyment      of   the    goods,    services,     facilities,

privileges,         advantages,       [or]   accommodations”        of    the

Amazon defendants as places of public accommodation.

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§ 2000a(a).         Coral       Ridge    argues        that    the        Amazon

defendants have denied it the “service,” “privilege,”

or “advantage” of receiving money donations through the

AmazonSmile program.30          So, the issue to resolve here is

whether     Title    II’s       protection       of      the        “enjoyment

of ... services,” “privileges,” and “advantages” of a

place of public accommodation encompasses the ability

to receive such donations.               In other words, is Coral

Ridge within the class of plaintiffs that Title II is

designed to protect?

     The court begins its analysis with two premises.

First,    Title     II     is    “not        limited     to        proscribing

discrimination only as to the enjoyment” of the goods,

services, privileges, etc. that “make the establishment

a place of public accommodation.”                      United States v.

DeRosier,    473    F.2d    749,       752    (5th     Cir.    1973).         In

DeRosier,     the   court       held     that    Title        II    not     only

protected access to the juke box, shuffle board, and

    30. Coral Ridge does not allege that it was
prevented from making donations to organizations that
are eligible to participate in the AmazonSmile program.



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pool table that converted the bar into a “place of

entertainment”; rather, it protected the enjoyment of

all the bar’s goods, services, etc.                       See id. at 751-52.

Applying this principle here, the court concludes that

Title    II’s    ban       on    discrimination          extends       beyond    the

enjoyment       of    the        video,       audio,     and     book    selling,

downloading, and streaming activities that Coral Ridge

asserts--and         this       court       assumes,     arguendo--makes         the

Amazon defendants public accommodations as “place[s] of

exhibition or entertainment.”                     § 2000a(b)(3).

     The second premise is that “it is the traditional

understanding         of    public-accommodation                laws    that    they

provide rights for customers,” rather than, say, the

providers of goods or services.                           PGA Tour, Inc. v.

Martin,     532       U.S.           661,    692       (2001)     (Scalia,       J.,

dissenting)          (citing          Hurley      v.    Irish-American          Gay,

Lesbian and Bisexual Grp. of Bos., 515 U.S. 557, 571

(1995)    and     Heart         of    Atlanta      Motel,       Inc.    v.   United

States, 379 U.S. 241 (1964)).                          As the Supreme Court

pointed         out         in         Hurley,          the       history         of



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public-accommodation laws can be traced to the “common

law, [under which] innkeepers, smiths, and others who

‘made      profession         of    a     public       employment,’             were

prohibited from refusing, without good reason, to serve

a    customer.”         515    U.S.      at    571.     (emphasis            added).

Moreover,       in     Heart       of    Atlanta,          a    1964     decision

upholding       the     constitutionality             of       Title     II,     the

Supreme Court found that the “[b]asis of Congressional

[a]ction”      to     pass    Title     II    was     the      evidence       before

Congress      of      discrimination          against          potential       black

customers      of     hotels.      See       379    U.S.       at    252.       This

Congressional          testimony        included       that          “Negroes     in

particular have been the subject of discrimination in

transient       accommodations,              having     to          travel     great

distances [to] secure the same; that often they have

been unable to obtain accommodations and have had to

call upon friends to put them up overnight; and that

these conditions had become so acute as to require the

listing of available lodging for Negroes in a special

guidebook which was itself dramatic testimony to the



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difficulties         Negroes       encounter           in       travel.”        Id.   at

252-53        (internal           citations          and         quotation        marks

omitted).       Since Title II’s enactment and upholding by

the      Supreme           Court         in        1964,         the         heartland,

run-of-the-mill Title II cases involve establishments

that refuse to provide their goods, services, etc., to

potential       customers.             See,    e.g.,        Stout       v.    YMCA    of

Bessemer, Ala., 404 F.2d 687, 688-89 (5th Cir. 1968)

(holding that the YMCA violated Title II by refusing to

rent rooms to two black plaintiffs).

       Combining these two premises, the court concludes

that     it    is    clear        that,        while        a    viable      Title    II

plaintiff      need        not    be    denied      the         good,   service,      or

privilege, etc. that makes the defendant establishment

a place of public accommodation, see DeRosier, 473 F.2d

at 752, in the typical Title II case, consistent with

the traditional understanding of public-accommodations

laws, he is denied enjoyment of some good, service, or

privilege,          etc.     in        his     capacity          as     a     customer.

Consequently, Coral Ridge’s claim does not fail just



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because the activity at issue--receiving donations--is

different from the activities that Coral Ridge alleges

makes     the     Amazon      defendants       places      of       public

accommodation (book, music, and video sales, streaming,

etc.).     Nevertheless, what remains unclear is whether

Title II’s protections extend to a plaintiff, such as

Coral Ridge, who is seeking to receive donations from a

place of public accommodation, and thus not acting as a

potential “customer” in any ordinary sense of the word.



                               i.    Caselaw

       It is an open question whether Title II covers the

“enjoyment of” goods, services, privileges, etc. by a

plaintiff other than a potential customer of a public

accommodation.         Some    lower      courts    have     held      that

federal public-accommodation laws protect exhibitors at

a safari convention, see Impala African Safaris, LLC v.

Dall. Safari Club, Inc., 2014 WL 4555659, at *6 (N.D.

Tex.     Sept.    9,   2014)     (Fish,     J.)     (Title      II),      or

physicians       seeking    medical-staff          privileges       at     a



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hospital, see Hetz v. Aurora Med. Ctr. of Manitowoc

Cnty., 2007 WL 1753428, at *11-12 (E.D. Wis. June 18,

2007) (Callahan, Jr., M.J.) (Title III of the Americans

with Disabilities Act of 1990); see also Menkowitz v.

Pottstown Memorial Med. Ctr., 154 F.3d 113, 122 (3d

Cir. 1998) (Title III).                Conversely, other courts have

held    that       a   public-accommodation           law     protects     only

customers      or      patrons    of   a     public    accommodation,       not

camp counselors, see Bauer v. Muscular Dystrophy Ass’n,

Inc., 268 F. Supp. 2d 1281, 1291-92 (D. Kan. 2003)

(Brown, J.) (Title III), and that Title II does not

protect taxicab services seeking to “‘provide’ services

at, not merely enjoy the benefits of access to,” a mall

transit station, Gold Star Taxi and Transp. Serv. v.

Mall of Am. Co., 987 F. Supp. 741, 752-53 (D. Minn.

1997)       (Magnuson,     J.).        None    of     these    decisions     is

directly on point, or for that matter, binding.

       Of    all    the   existing      caselaw       on    the   issue,   the

Supreme Court decision, PGA Tour, Inc. v. Martin, is

the most instructive as to whether Title II extends



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beyond customers.            532 U.S. at 679-81.               Critically, as

elaborated below, Martin teaches that, regardless of

whether      Coral     Ridge      constitutes       a     customer      in   any

ordinary sense of the word, it is not protected by

Title      II,    because     the     ability      to    receive      donations

through      the    AmazonSmile          program    is     not    a   service,

privilege, etc. that is open to the public.

      In         Martin,       the       Court          confronted--without

deciding--the          question       whether      the        Americans      with

Disabilities           Act’s          analogous          prohibition           on

discrimination in public accommodations (Title III of

the   act)       applies     to   only    “clients       or    customers”      of

public accommodations.               Id. at 679.        Although Title III

of the Americans with Disabilities Act and Title II of

the Civil Rights Act of 1964 have their differences,

the   texts       of   the    two     statutes      are       quite   similar.

Mirroring the language of Title II, Title III provides:

“No individual shall be discriminated against on the

basis of disability in the full and equal enjoyment of

the        goods,       services,            facilities,          privileges,



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advantages, or accommodations of any place of public

accommodation ... .”             42 U.S.C. § 12182(a).                Title III

enumerates        a     similar,      yet     more   extensive,        list     of

entities         that       qualify    as     “public     accommodations,”

§ 12181(7),           and     that,    like     Title     II,     should        be

“construed liberally,”                 Martin, 532 U.S. at 676.                 As

described          below,        the        Martin      Court’s         holding

interpreting          Title    III    explicitly       relied    on     its    own

precedent interpreting Title II, which further shows

why              courts’--especially                    the             highest

court’s--interpretations of each statute are mutually

relevant and instructive.

      The    plaintiff          in    Martin     was    Casey     Martin,        a

professional golfer with a disability that limited his

ability to walk.             He alleged that the PGA Tour violated

Title III of the Americans with Disabilities Act by

prohibiting           him     from     using     a      golf     cart       while

participating in its golf tournaments.                          The PGA Tour

conceded that its golf tournaments were conducted at

places      of    public       accommodation.           See     id.    at     677.



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Nonetheless, it argued that Title III did not protect

Martin because he was a competing golfer, rather than a

spectator consuming the entertainment.                     See id. at 678.

More specifically, the PGA Tour contended that Title

III “is concerned with discrimination against clients

and customers seeking to obtain goods and services at

places        of    public    accommodation,”       not    a     professional

golfer such as Martin, who “is a provider rather than a

consumer of the entertainment that [the PGA Tour] sells

to      the    public.”          Id.     (internal        quotation       marks

omitted).

        The Martin Court did not decide whether Title III

was      limited      to     “clients     and    customers”       of     public

accommodations,            because      it     determined      that      Martin

qualified as a client or customer of the PGA Tour.                          Id.

at      679-80.         The     Court        explained    that     the     golf

tournaments offered “at least two ‘privileges’ to the

public--that of watching the golf competition and that

of competing in it.”                 Id. at 680.          In other words,

during        its     tournaments,        the     PGA     Tour     “may     not



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discriminate against either spectators or competitors

on the basis of disability.”                        Id. at 681.

        The    Court        offered       four      interrelated      reasons       why

Martin was a client or customer and thus protected by

Title III.            First, it highlighted that Martin paid a

$ 3,000        entry        fee    for    a     chance      to    compete    in     the

tournament.             See        id.     at       679.         Second    and     most

importantly, the Court stressed that competing in the

PGA     Tour     tournaments             was    a    privilege      “available       to

members of the general public.”                            Id. at 680.        As the

Court explained, Martin had sought to gain entry into

the PGA Tour tournament by successfully competing in a

three-stage tournament known as the “Q-School.”                                  Id. at

669.      “Any member of the public may enter the Q-School

by     paying     a     $ 3,000          entry      fee    and     submitting       two

letters of reference                     ... .”        Id. at 665.           Through

three         stages        of     the     Q-School,        the     thousands        of

contestants            are        whittled          down     to     the     PGA-Tour

participants.               Third,       the     Court     emphasized       that    its

“conclusion            is        consistent         with    case     law     in     the



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analogous context of Title II of the Civil Rights Act

of 1964.”     Id. at 681.         For example, in Daniel v. Paul,

the Court had held that the “definition of a ‘place of

exhibition       or      entertainment,’              as       a      public

accommodation, covered participants ‘in some sport or

activity’ as well as ‘spectators or listeners.’”                         Id.

(quoting 395 U.S. at 306).               Fourth and finally, the

court cited Title III’s “expansive purpose.”                         Id. at

680.31

     Martin’s reasoning shows that Title II does not

cover    Coral    Ridge’s      attempt        to     receive       donations

through the AmazonSmile program.                   Crucially, unlike in

Martin, the ability to receive donations through the

AmazonSmile      program     is    not   “a    privilege       that     [the

Amazon defendants] make[] available to members of the

general public.”       Id.    To register to receive donations

through the AmazonSmile program, the entity must, among


    31. The Martin Court limited its holding by
clarifying that a “customer” does not encompass
“everyone who seeks a job at a public accommodation,
through an open tryout or otherwise.” 532 U.S. at 680
n.33 (internal quotation marks omitted).


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other        eligibility             requirements,             be      a     § 501(c)(3)

organization that is located in the United States and

in good standing in the IRS.                           See Am. Compl. (doc. no.

40) at ¶ 44.              Sure, Martin embraced a broad conception

of     being       open    to    members          of    the    general        public       by

recognizing the PGA Tour as such.                             See Martin, 532 U.S.

at     696     (Scalia,          J.,     dissenting)              (criticizing        that

competing in the Q-School qualifying tournament is “no

more     a    ‘privilege’            offered      for       the     general     public’s

‘enjoyment’          than       is    the    California            Bar     Exam”     or    an

“open        casting       for       a   movie         or     stage        production”).

Still, the fact that the AmazonSmile program is limited

to       certain           § 501(c)(3)             organizations--and                 thus

completely          excludes         all    natural         persons--removes              the

program from even Martin’s broad conception of being

“available to members of the general public.”                                      Id. at

680; see also Gold Star Taxi, 987 F. Supp. at 752-53

(holding that Title II did not cover taxicab services’

access        to     mall       transit        station            because      municipal

regulations          restricted             the        right      to       provide    such



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services in the city, and only a limited number of

qualifying persons and companies were legally able to

provide services to the mall).                    The bottom line is that

any good, service, or privilege, etc. that is available

to     only    a    specific         type    of   legal     entity--and       not

directly to human beings--is not open to the public for

Title II purposes.

        Additionally, this case is distinguishable from the

Daniel      decision       on    which       Martin   relied.           Receiving

money      donations       through          the   AmazonSmile      program     is

nothing like participating in a sport or other activity

while         visiting          an     open-to-the-public               “232-acre

amusement       park     with        swimming,     boating,       sun   bathing,

picnicking, miniature golf, dancing facilities, and a

snack bar.”         Daniel, 395 U.S. at 301.32              And because, as

noted      above,    the    program          is   limited    to    § 501(c)(3)



    32. This case also differs from Martin because
there is no allegation that Coral Ridge would need to
pay any fee to participate in the AmazonSmile program.
However, this distinction is not dispositive to the
court’s ruling here, because making a payment is not a
requirement for being protected by public accommodation
laws.

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organizations          and      thus    not       open     to    the      public,

protecting        Coral      Ridge     here       would    not       further   the

“overriding purpose of Title II” recognized in Daniel:

to remove “the daily affront and humiliation involved

in     discriminatory         denials        of    access       to    facilities

ostensibly open to the general public.”                          Id. at 307-08

(emphasis added).

        To summarize, the Martin Court refused to foreclose

the possibility of a federal public-accommodations law

protecting        noncustomers,         and        embraced       a     capacious

conception        of    a    protected        “customer”         that     extends

beyond the everyday meaning of the word, such that it

encompasses         competitors          in       a      professional          golf

tournament.         See Martin, 532 U.S. at 695 (Scalia, J.,

dissenting) (“[N]o one in his right mind would think

that [professional baseball players] are customers of

the     American       League    or    of     Yankee      Stadium.”).           The

Martin Court also embraced a liberal understanding of

what qualifies as available to the general public.                              See

id. at 697.         Nevertheless, as expansive as the Court’s



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reading of Title III of the Americans with Disabilities

Act was, Martin still supports concluding that Coral

Ridge is not covered here by the similarly worded Title

II of the Civil Rights Act of 1964, because the ability

to receive donations through the AmazonSmile program is

simply     not   “available      to     members     of   the    general

public.”    Id. at 680.



                 ii. Text and Structure of Title II

      The text and structure of Title II reinforce the

above-stated conclusion: The statute does not protect

the    ability      to      receive     donations        through     the

AmazonSmile      program,    given    that   this    ability    is   not

open to the public.         Specifically, the statute provides

that an establishment qualifies as a place of public

accommodation governed by Title II only if it “serves

the public.”       42 U.S.C. § 2000a(b); see also Welsh v.

Boy Scouts of Am., 993 F.2d 1267, 1269 (7th Cir. 1993).

Subsection (e) further provides that Title II’s ban on

discrimination does not apply “to a private club or

other establishment not in fact open to the public,

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except      to     the       extent    that     the      facilities       of    such

establishment are made available to the customers or

patrons of an establishment” that qualifies as a place

of       public        accommodation            under        subsection         (b).

§ 2000a(e)         (emphasis          added).         Combining       these      two

subsections, the court concludes that Title II applies

to an entity only if it “serves the public” or is made

available to the “customers or patrons” of a public

accommodation            (which,       by      definition,         “serves       the

public”).          True, these two provisions relate to the

types      of    entities       covered       by   the     statute,    not      what

qualifies         as     a    good,     service,        or    privilege,        etc.

Nevertheless,            because         the       provisions       limit        the

statute’s coverage to entities that serve the public or

are available to entities that serve the public, and

because, by definition, entities that serve the public

provide         goods,       services,      etc.    that     are   open    to    the

public, the provisions suggest that Congress designed

Title II to address the evil of discrimination with

respect to goods, services, etc. that are open to the



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public.        Moreover, the fact that opening an entity up

to “customers or patrons” triggers the application of

Title II to an otherwise exempt establishment strongly

suggests that at least a primary concern of Congress

was     discrimination        against        “customers        and    patrons.”

Given       that   Coral    Ridge      seeks       to   receive       donations

through a program that is not open to the public, and

that Coral Ridge is not acting as a customer or patron

in     seeking     the    donations,         it    is   not     the    type    of

plaintiff envisioned by Title II.



                iii. Avoiding First Amendment Problems

        Finally, even if one could conceivably read Title

II     to    protect     Coral       Ridge    here--which         this      court

strongly doubts--the canon of constitutional avoidance

would       preclude     such    a    reading.          This    longstanding

principle of statutory interpretation holds: “[I]f an

otherwise acceptable construction of a statute would

raise       serious    constitutional         problems,        and     where   an

alternative        interpretation        of       the   statute       is   fairly



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possible,     [courts]      are    obligated        to   construe       the

statute to avoid such problems.”                  I.N.S. v. St. Cyr,

533 U.S. 289, 299-300 (2001) (internal citations and

quotation marks omitted); see also Clark v. Martinez,

543 U.S. 371, 381 (2005) (explaining that                   the canon of

constitutional       avoidance      “is     a     tool   for    choosing

between      competing     plausible        interpretations        of     a

statutory text, resting on the reasonable presumption

that    Congress    did   not     intend    the    alternative      which

raises serious constitutional doubts”).

       Here, interpreting Title II to require the Amazon

defendants to include Coral Ridge in the AmazonSmile

program would raise serious First Amendment problems.

Such    an   interpretation       would    essentially       compel     the

Amazon defendants to donate money to Coral Ridge, and

thus subsidize its “mission ...             to proclaim the Gospel

upon which this Nation was founded.”                 Am. Compl. (doc.

no. 40) at ¶ 38.          This outcome would seriously risk

violating     the    “bedrock”      First       Amendment      “principle

that, except perhaps in the rarest of circumstances, no



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person in this country may be compelled to subsidize

speech by a third party that he or she does not wish to

support.”        Harris v. Quinn, 573 U.S. 616, 656 (2014);

see also NAACP v. Hunt, 891 F.2d 1555, 1566 (11th Cir.

1990)      (“[T]he      government       may    not    compel   persons      to

support candidates, parties, ideologies or causes that

they are against.”) (internal quotation marks omitted).

As the AmazonSmile eligibility requirements make clear,

the Amazon defendants do not want to donate money to

organizations that SPLC classifies as “hate groups.”

See     Am.    Compl.     (doc.    no.    40)    at    ¶¶ 23,   44.      SPLC

classified Coral Ridge as a “hate group.”                        Therefore,

Coral      Ridge     is    a     “third      party     that”    the   Amazon

defendants do “not wish to support.”                     Harris, 573 U.S.

at     656.      Yet,     if    this   Court    adopted    Coral      Ridge’s

reading of Title II, the Amazon defendants would be

forced to donate money to Coral Ridge, despite their

wish not to, and thus be compelled to subsidize Coral

Ridge’s       mission      to     broadcast      its    religious      views,




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including       its    opposition        to    homosexual         conduct      that

resulted in SPLC’s labeling it a “hate group.”

      Coral     Ridge    argues       that     applying       Title      II   here

would     not        violate    the       Amazon          defendants’         First

Amendment rights, because it is the customers, rather

than the defendants, who make the donations through the

AmazonSmile program.            This argument is belied by Coral

Ridge’s amended complaint, which quotes the program’s

website as stating that “AmazonSmile Foundation will

donate 0.5% of the price of eligible purchases to the

charitable organizations selected by customers.”                                 Am

Compl.    (doc.       no.     40)   at    ¶ 43.           Sure,    the    Amazon

customers        initiate       the      purchase          and     choose       the

organization to which they donate.                         But, importantly,

the     customers       can    donate         to    only     the    restricted

universe        of     entities       that         meet    the     AmazonSmile

program’s eligibility requirements.                         In other words,

the Amazon defendants choose which groups can receive

donations, and the Amazon defendants donate 0.5 % of

their revenue from each purchase.                     It is therefore the



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Amazon defendants who would be compelled to donate to a

group that they did not want to--namely, Coral Ridge.

      By way of comparison, assume that a closely held

fast-food restaurant chain, whose owners are Christian

and object to homosexuality based on their religious

beliefs, initiates a “charity match” program.                           Under

the program, consumers who purchase a certain number of

sandwiches may donate up to $ 5.00 to the charity of

their choice, subject to certain restrictions, and the

corporation       will   match    the       donation.      According       to

Coral Ridge’s interpretation of Title II, the fast-food

chain     could    be    compelled--over         their     objection--to

match donations to, for example, a church whose central

mission     is    promoting      the        Christian    acceptance       of

homosexuality; the Church of Satan; or any number of

religious    organizations        whose       purpose    and    activities

run   directly     contrary      to    the    business’s       deeply   held

convictions.        Even though the consumer initiated the

transaction that would ultimately lead to the business

donating money, it is still the business’s money being



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donated, and the business retains its say as to where

it goes.33

     So, even if Coral Ridge’s reading of the statute to

cover its claim were plausible, such an interpretation

would raise serious constitutional problems under the

First      Amendment.              Because       “an       alternative

interpretation         of       the       statute        is      fairly

possible”--indeed, in the court’s view, is the correct

interpretation of Title II--this court is “obligated to

construe the statute to avoid such problems.”                 St. Cyr,

533 U.S. at 300.


    26.   In addition to likely forcing establishments
to subsidize speech with which they disagree, extending
Title II to charitable monetary giving more broadly
runs the danger of restricting speech by diluting
donations to organizations to whom establishments want
to give.   For instance, assume a business decided to
donate a portion of its proceeds to a particular
religious or nationality-based organization--perhaps a
Korean restaurant donating to a church that the owners
attend, or to a Korean neighborhood association.
Applying Title II as Coral Ridge suggests might allow
other groups to come and demand a share of the
donations, which would in turn reduce the owners’
contributions to the group of their choice--potentially
ad infinitum.    This possibility further supports the
conclusion that Coral Ridge’s construction of Title II
would likely be unconstitutional.


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      In conclusion, the “full and equal enjoyment of the

goods,    services,     facilities,            privileges,         advantages,

and      accommodations           of         any         place     of      public

accommodation”        does     not      encompass           the    ability      to

receive     donations        through         the    AmazonSmile          program.

This conclusion stems from the reasoning of Martin and

text and structure of Title II--given that receiving

donations    through        the     program         is     not    open    to   the

public--as     well    as     the      traditional          understanding       of

public-accommodations             laws,            and      the     canon       of

constitutional avoidance.34                  Accordingly, the Title II

claim is due to be dismissed with prejudice.



              3. Discrimination Based on Religion

      Even if Title II’s ban on discrimination applied to

Coral Ridge’s ability to receive donations through the

AmazonSmile program, it has not plausibly alleged that



    34.   The court expresses no opinion as to whether
Title II would cover the ability to receive donations
if the AmazonSmile program had no--or significantly
less restrictive--eligibility requirements for donation
recipients.

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the Amazon defendants discriminated against it based on

religion.



                             i.    Disparate Impact

     Coral Ridge asserts a disparate-impact theory of

discrimination.         See Pl.’s Resp. to Amazon Defs.’ Mot.

to Dismiss (doc. no. 52) at 8-9.                       “In contrast to a

disparate-treatment            case,      where        a        plaintiff      must

establish     that      the       defendant      had       a     discriminatory

intent      or        motive,        a      plaintiff             bringing         a

disparate-impact claim challenges practices that have a

disproportionately            adverse       effect         on     [a     protected

group] and are otherwise unjustified by a legitimate

rationale.”       Tex. Dep’t of Hous. & Cmty. Affairs v.

Inclusive Cmtys. Project, Inc., 135 S. Ct. 2507, 2513

(2015) (internal quotation marks omitted).                              The Amazon

defendants,      on    the    other      hand,    argue          that    Title    II

requires     intentional           discrimination               and     does     not

embrace disparate-impact claims.




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      Neither the Supreme Court nor Eleventh Circuit has

determined whether Title II recognizes disparate-impact

claims.      Several lower courts have concluded that it

does.      See, e.g., Olzman v. Lake Hills Swim Club, Inc.,

495   F.2d    1333,    1340-41    (2d   Cir.   1974);         Robinson    v.

Power Pizza, Inc., 993 F. Supp. 1462, 1464-66 (M.D.

Fla. 1998) (Schlesinger, J.).            Others have held that it

does not.      See, e.g., Akiyama v. U.S. Judo Inc., 181 F.

Supp. 2d 1179, 1187 (W.D. Wash. 2002) (Lasnik, J.);

LaRoche v. Denny's, Inc., 62 F. Supp. 2d 1366, 1370 n.2

(S.D. Fla. 1999) (Seitz, J.).

      This court need not resolve the open question, for

Coral Ridge has not plausibly plead a prima-facie case

of disparate-impact discrimination.

      To     make     out   a     prima-facie          case     under      a

disparate-impact theory, a plaintiff must show that the

defendant’s         challenged    policy     or    practice        has     a

“significantly        disparate     impact”       on    members     of     a

protected group.        Wards Cove Packing Co. v. Atonio, 490

U.S. 642, 657-58 (1989), superseded by statute on other



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grounds,      42      U.S.C.       § 2000e-2(k);       Stephen     v.     PGA

Sheraton Resort, Ltd., 873 F.2d 276, 279 (11th Cir.

1989) (requiring showing a “significant discriminatory

effect”).        As    the    Supreme       Court    has   clarified,     the

prima-facie        case      of     disparate-impact        liability     is

“essentially[]        a   threshold         showing   of   a   significant

statistical disparity.”               Ricci v. DeStefano, 557 U.S.

557,    587   (2009);        see    also    Powers    v.   Ala.   Dep’t    of

Educ., 854 F.2d 1285, 1293 (11th Cir. 1988) (explaining

that a prima-facie case requires plaintiffs to show a

“statistically            significant            disparity”         between

promotions of black people and similarly situated white

people).       The Supreme Court has instructed courts to

“examine with care whether a plaintiff has made out a

prima    facie     case   of       disparate     impact”    and   cautioned

that “prompt resolution of these cases is important.”

Inclusive Cmtys., 135 S. Ct. at 2523.

       Still, at this motion-to-dismiss stage, Coral Ridge

must    plausibly      allege--not         prove--only     a   prima-facie

case    of    disparate       impact.        A   plaintiff     “should     be



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afforded          the    opportunity      of    discovery       before    he    is

required to present detailed statistics to the court.”

Forsyth v. Univ. of Ala. Bd. of Trs., 2018 WL 4517592,

at     *6    (N.D.        Ala.   Sept.     20,     2018)    (Proctor,         J.).

Accordingly, all Coral Ridge must do is allege “some

statistical disparity, however elementary.”                            Brady v.

Livingood, 360 F. Supp. 2d 94, 100 (D.D.C. 2004) (Leon,

J.).

        Coral Ridge does not meet its burden because it

does        not        allege    even     an     elementary       statistical

disparity;             indeed,   its     amended    complaint       makes       no

factual                allegations            whatsoever          of           any

“disproportionately              adverse       effect”     on   religious       or

Christian         groups.        Inclusive       Cmtys.,    135    S.    Ct.    at

2513.35        The Amazon defendants’ challenged policy or

practice          is     their   eligibility       requirement          for    the

AmazonSmile program that excludes any organization that

SPLC classifies as a “hate group.”                          See Am. Compl.


    35. Of course, the court does not credit Coral
Ridge’s conclusory allegations of disparate impact that
are unsupported by any well-pleaded underlying factual
allegations.

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(doc.      no.    40)    at     ¶¶ 23-24,    44.        Coral    Ridge,       a

“Christian ministry,” id. at ¶ 63, has not alleged any

facts      indicating         that   this    eligibility        requirement

results in the disproportionate exclusion of Christian

or       religious        organizations,           as     compared           to

non-Christian or non-religious organizations seeking to

participate in the program.36               That is, Coral Ridge does



    36. Disparate-impact claims require evaluating the
impact of a policy or practice on members of a
protected class as compared to persons outside the
protected class.       The court reads the relevant
protected class alleged here to be a Christian or
religious organization, not a Christian organization
whose religious views oppose homosexual conduct. If a
plaintiff could narrowly define its class based on its
particular religious belief, rather than the broader
religious faith or group to which it belongs, then
disparate-impact claims would have a nearly limitless
reach.   This  is   because  any   policy impacting  a
plaintiff’s specific religious belief would generally
impact 100 % of the members of a class defined by that
belief, which would virtually always amount to a
disproportionate impact as compared to those falling
outside the class.    Cf. Akiyama, 181 F. Supp. 2d. at
1186.   For example, a Jewish man impacted by a policy
affecting a belief rooted in his idiosyncratic,
personalized interpretation of Judaism could claim
disparate impact even though no other Jewish people
hold that belief.

    Such a broad interpretation of religion-based
disparate-impact claims would conflict with the Supreme

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Court’s admonition that policies “are not contrary to
the   disparate-impact   requirement    unless   they   are
artificial,   arbitrary,    and   unnecessary    barriers.”
Inclusive Cmtys., 135 S. Ct. at 2512 (internal
quotation marks omitted).          Furthermore, such an
interpretation would be contrary to the text of Title
II, which prohibits discrimination “on the ground of
race,    color,    religion,    or    national     origin.”
§ 2000a(a).   First, the statute refers to “religion,”
not religious beliefs.      Id.; compare with 42 U.S.C.
§§ 2000bb-1(a)-(b) & 2000cc-5(7) (establishing the
Religious Freedom Restoration Act of 1993’s much
broader   protection   for    religious    freedom,   which
mandates, in much more expansive language, that the
“Government shall not substantially burden a person’s
exercise of religion even if the burden results from a
rule of general applicability” unless the Government
makes   certain   showings;    and   defining    “religious
exercise” as “any exercise of religion, whether or not
compelled by, or central to, a system of religious
belief”).       Second,    all    the    other    protected
grounds--race, color, and national origin--refer to
broad categories of people.        Reading “religion” in
light of those surrounding categories, it makes little
sense to allow a plaintiff to narrowly define his
protected class for disparate-impact purposes based on
one specific belief related to their religious faith.
See United States v. Williams, 553 U.S. 285, 294 (2008)
(explaining the “commonsense canon of noscitur a
sociis--which counsels that a word is given more
precise content by the neighboring words with which it
is associated”).

    Granted, a plaintiff might be able to define his
class as members of a particular branch, strand,
denomination, sect, etc. of a religion, such as Sufi
Muslims,   Orthodox   Jews,  or Lutheran  Christians.
However, even if the court construed Coral Ridge’s
complaint   to   identify   its protected  class   as

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not allege any facts that would lead to a reasonable

inference that Christian or religious organizations are

more    likely      than    other        § 501(c)(3)      organizations

falling outside those categories to be designated by

SPLC as “hate groups” and thus excluded.                    For example,

its    amended     complaint      makes    no    factual     allegations

reasonably suggesting that Christian organizations are

more    likely    than    other   organizations        to--or    have     in

fact    been     more    frequently      deemed    to--qualify      under

SPLC’s definition of a “hate group.”                   Nor does Coral

Ridge    allege    any    facts   indicating       that     Christian     or

religious      organizations       are    more    likely     than   other

similarly        situated    groups        to     “oppose     homosexual

conduct.”      Cf. Obergefell v. Hodges, 135 S. Ct. 2584,



evangelical Christian organizations, it still does not
make the factual allegations that evangelical Christian
organizations are disproportionately deemed--or likely
to be deemed--“hate groups” and thus excluded from the
AmazonSmile program.    See Am. Compl. (doc. no. 40) at
¶ 31   (describing   Coral   Ridge’s   founder   as  an
“evangelist”).    The bottom line is that, even      is
assumed that Title II recognizes disparate-impact
claims, the protected class in such a claim should be
defined along the lines of a religion or religious
group, not a particular belief within that group.

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2602 (2015) (“Many who deem same-sex marriage to be

wrong”    do    so     based     on     “religious       or   philosophical

premises”) (emphasis added).

     Despite          these     pleading         defects,       Coral    Ridge

maintains that there is a disparate impact because it

was excluded from the AmazonSmile program based on its

religious       beliefs,       whereas       § 501(c)(3)      organizations

“that fall outside of SPLC’s ‘hate group’ category” are

eligible to participate.                   Pl.’s Resp. to Amazon Defs.’

Mot. to Dismiss (doc. no. 52) at 8-9.                         This argument

misses    the     mark.              Alleging       disparate     impact    by

comparing       its    eligibility          to   that    of   organizations

“that    fall    outside       of     SPLC’s     ‘hate   group’      category”

would    make    sense        only    if    Coral    Ridge    were    alleging

discrimination based on its trait of being deemed a

‘hate group’ by SPLC.                Id.     Of course, being deemed a

‘hate group’ by SPLC is not one of the traits protected

by Title II.

     In sum, Coral Ridge’s allegation that its religious

beliefs caused it to be deemed a hate group and thus



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excluded       from    AmazonSmile,         without     any      allegations

indicating      that    Christian      or    religious        organizations

are     disproportionately            deemed--or        likely          to     be

deemed--hate groups and thus excluded, is not enough to

allege plausibly a prima-face case of disparate impact.



                      ii. Intentional Discrimination

       Coral Ridge further argues that, even if Title II

requires       intentional         discrimination,          it     plausibly

alleges such intent.               Specifically, it contends that

the following factual allegations support a reasonable

inference       of     intentional         discrimination          based       on

religion.        First,      “Amazon       specifically       chose     SPLC’s

on-its-face          religiously       discriminatory            hate    group

criteria as its eligibility standard.”                     Pl.’s Resp. to

Amazon    Defs.’      Mot.    to    Dismiss     (doc.      no.    52)    at    10

(citing Am. Compl. (doc. no. 40) at ¶¶ 44, 53-54).                            The

court    rejects       this       allegation,     given       that      it     is

contradicted by Coral Ridge’s more specific allegation

that    SPLC    defines       a    “hate    group”    as    one    that       has



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“beliefs or practices that attack or malign an entire

class     of    people,      typically        for        their     immutable

characteristics.”         Am. Compl. (doc. no. 40) at ¶ 64.

This definition, which does not reference religion, is

not “on-its-face religiously discriminatory.”

       Second, Coral Ridge argues that an inference of

intentional       discrimination         is     supported            by    its

allegation that the “SPLC placed [Coral Ridge] on the

Hate Map because of [Coral Ridge’s] religious beliefs

regarding LGBT issues.”           Pl.’s Resp. to Amazon Defs.’

Mot. to Dismiss (doc. no. 52) at 10 (citing Am. Compl.

(doc. no. 40) at ¶¶ 56-58).             The court accepts as true

that    SPLC    designated    Coral     Ridge       as    a    “hate   group”

because    of    its   beliefs   about    LGBT       issues,        and   that

these are religious beliefs for Coral Ridge.                        Yet, the

fact    that     Coral    Ridge’s     opposition              to   homosexual

conduct happens to be rooted in its religious beliefs

does not mean that SPLC targeted Coral Ridge because of

its religious beliefs, as opposed to its belief, full

stop, regardless of whether that belief is religiously



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rooted.      Moreover, Coral Ridge’s allegation that the

designation was because of its religious beliefs need

not be accepted, because it is tantamount to the legal

conclusion             of            intentional          religion-based

discrimination.             See   Oxford      Asset    Mgmt.,     Ltd.,   v.

Jaharis,     297    F.3d.         1182,      1188     (11th     Cir.   2002)

(explaining that, at the motion to dismiss stage, the

court     need   not        accept     as    true   “legal      conclusions

masquerading as facts”).

     Third, Coral Ridge alleges that “Amazon (not SPLC)

makes the ultimate decision as to who may or may not

participate in the AmazonSmile program.”                        Pl.’s Resp.

to Amazon Defs.’ Mot. to Dismiss (doc. no. 52) at 10

(citing Am. Compl. (doc. no. 40) at ¶¶ 43, 53).                         This

allegation,      alone       or   in   combination       with    the   other

allegations, does not lead to a reasonable inference of

intentional discrimination.

     Finally, Coral Ridge contends that: “Even if Amazon

were to argue that there was no intent to discriminate

prior to this lawsuit being filed, at this point in the



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litigation, Amazon has been on notice of the issues in

this case for months now and could easily have made

this case go away by simply permitting [Coral Ridge] to

be part of the AmazonSmile program.                 Amazon’s continued

refusal to do so, especially in light of the expense of

defending this litigation, certainly indicates Amazon’s

intent to continue discriminating.”                  Id.     Coral Ridge

is      basically      arguing     that    the    Amazon      defendants’

refusal to acquiesce to its litigation demands somehow

converts       its   exclusion      from   the    AmazonSmile      program

into intentional discrimination.                  This argument lacks

merit.

        Accordingly, Coral Ridge does not plausibly allege

intentional discrimination based on religion.

                                     ***

        While Title II “is to be liberally construed and

broadly read,” Miller, 394 F.2d at 349, Coral Ridge

wants to stretch the statute beyond its breaking point.

Perhaps Title II extends beyond physical “place[s],”

§ 2000a(b), to the internet.               Perhaps it protects more



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than just potential customers seeking goods, services,

etc.         Perhaps   it   even    recognizes        disparate-impact

claims.      But it does not protect the ability to receive

money    donations,      where     such    an    ability    is    limited

exclusively to § 501(c)(3) organizations and thus not

open to the public.            And Title II certainly does not

entitle to relief a plaintiff who does not plausibly

alleged        any     discrimination           whatsoever,       whether

intentional or by disparate impact.

       Coral Ridge cannot force the Amazon defendants to

donate money to it.          Its Title II claim is due to be

dismissed with prejudice.37



                         V. CONCLUSION

       The    court    should    not      be    understood       as    even

suggesting      that   Coral     Ridge    is     or   is   not   a    “hate

group.”      It has merely held that SPLC’s labeling of the


    37. The court reaches the same conclusion, for the
same reasons, regardless of whether Coral Ridge
characterizes its claim as seeking to be able to
receive money through the AmazonSmile program based on
purchases by other customers, or based on purchases
that Coral Ridge itself makes.

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group as such is protected by the First Amendment and

that the Amazon defendants’ exclusion of the group from

receiving          donations         through         the         AmazonSmile

charitable-giving program does not violate Title II of

the      Civil    Rights     Act    of     1964.         The    court    will,

therefore, enter a judgment adopting the recommendation

of the magistrate judge (albeit for different reasons

in     some    respects);      granting      SPLC’s       and    the    Amazon

defendants’        motions     to   dismiss;       and    dismissing      this

case in its entirety.

        DONE, this the 19th day of September, 2019.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




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